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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

                                    MDL Docket No. 2800
IN RE: EQUIFAX INC.                 No. 1:17-md-2800-TWT
CUSTOMER DATA SECURITY
BREACH LITIGATION                   This document relates to:
                                    CONSUMER CASES



  MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
   CONSOLIDATED CONSUMER CLASS ACTION COMPLAINT
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                               INTRODUCTION
      Defendants Equifax Inc. (“Equifax”), its consumer-reporting-agency

subsidiary Equifax Information Services LLC (“EIS”), and its consumer-services

subsidiary Equifax Consumer Services LLC (“ECS”) are committed to

safeguarding consumers’ personally identifying information (“PII”). They have

built a strong security infrastructure to protect the information they receive,

maintain, and send. Nevertheless, in 2017, criminal hackers invaded Equifax’s

systems and stole records containing the PII of over 145 million U.S. consumers.

      Upon discovering the breach, Equifax took quick action to stop the intrusion,

further shore up its systems’ defenses, and diligently investigate the nature and

scope of the intrusion. Once Equifax identified substantially all of the affected

consumers, it promptly announced its findings and took the unprecedented step of

offering a robust package of consumer services, free of charge, to all U.S.

consumers—whether their PII had been stolen or not.

      Plaintiffs, on behalf of a putative nationwide class and numerous putative

subclasses of consumers, allege that criminals stole their PII in the attack. They

assert 99 claims for relief in a 556-page Consolidated Consumer Class Action

Complaint (“CCC”). But while the CCC is long on words, it is short on operative

facts, particularly regarding the named Plaintiffs. Plaintiffs’ grab-bag approach to
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pleading underscores that none of the causes of action they have asserted fits the

facts of this case or entitles them to relief. To the contrary, the CCC suffers from

numerous irreparable defects, highlighting that a class action lawsuit is an

inappropriate vehicle for addressing consumers’ highly individualized concerns

over the theft of PII.

      First, Plaintiffs’ claims under the federal Fair Credit Reporting Act

(“FCRA”) categorically fail.       The FCRA regulates, among other things, how

consumer reporting agencies (“CRAs”) like EIS are permitted to “furnish” credit

reporting data. It does not apply when data unassociated with creditworthiness is

stolen from—not “furnished” by—a CRA or its affiliates.

      Second, Plaintiffs fail to allege facts showing that they have suffered a

legally sufficient injury as a result of the data breach. Most Plaintiffs merely allege

that their PII was disclosed to third parties, but that is not itself a legally cognizable

harm. Nor are the vague and speculative future harms that Plaintiffs allege.

      And even assuming some Plaintiffs have pleaded a sufficient injury, no

Plaintiff has plausibly alleged that the injury was caused by the Equifax data

breach.   Data breaches today are commonplace—there were more than 1,500

breaches in 2017 alone—and no Plaintiff pleads that his or her PII was not stolen

in any prior breach.      It is, therefore, entirely speculative for any Plaintiff to


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attribute any alleged fraud or identity theft to the Equifax data breach, as opposed

to another breach or fraudulent act. Further, even if a Plaintiff could somehow

trace any alleged injury to the Equifax data breach (and no Plaintiff has alleged

facts that would permit this Court to do so), those claims would still fail because a

chain of criminal acts by unknown third parties broke any causal connection

between Equifax’s conduct and the purported injury.

      Plaintiffs’ inability to plead that they suffered a legally sufficient harm—or

that the Equifax data breach caused any alleged harm—permeates the CCC,

requiring dismissal of the lion’s share of Plaintiffs’ claims.

      Third, Plaintiffs’ negligence and negligence per se claims fail because they

are premised on a duty of care that does not exist under applicable statutory or

common law.      Plaintiffs allege that their negligence claims are governed by

Georgia law, and in May 2018, the Georgia Court of Appeals issued a well-

reasoned decision holding that no duty of care to safeguard another’s PII exists in
         1
Georgia. That decision binds this Court.

      Fourth, Plaintiffs’ claims under the Georgia Fair Business Practices Act fail

because the statute does not impose a duty to safeguard consumers’ PII. The


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  McConnell v. Ga. Dep’t of Labor, — S.E.2d. —, No. A16A0655, 2018 WL
2173252 (Ga. Ct. App. May 11, 2018) (“McConnell III”), cert. pending.

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claims also fail because Plaintiffs have not pleaded that they gave their PII to

Equifax in reliance on any misrepresentation—on the contrary, Plaintiffs

affirmatively allege that they did not provide their PII to Equifax.

      Fifth, Plaintiffs’ unjust enrichment claim lacks merit. To state such a claim,

Plaintiffs would have to allege that they conferred their PII as a valuable benefit on

Equifax and reasonably expected to be repaid. But Plaintiffs expressly allege

either that they did not give their PII to Equifax or that they had contracts with

Equifax. Either way, they cannot state a claim for unjust enrichment.

      Sixth, although a subset of Plaintiffs assert claims for breach of contract,

they rely entirely on language in Equifax’s Privacy Policy that was not made part

of any contract these Plaintiffs had with Equifax.

      Seventh, Plaintiffs raise a host of claims under various state consumer-

protection and data-breach-notification statutes.      But the consumer-protection

statutes on which Plaintiffs rely cannot govern conduct that took place entirely in

Georgia and that affected Plaintiffs, if at all, only indirectly through the criminal

acts of third parties. Constitutional and statutory limits on the extraterritorial

enforcement of state statutes place Equifax’s Georgia conduct beyond the power of

other states to regulate. And even if these statutes did apply, Plaintiffs’ pleadings

are defective. Their claims allege fraudulent misrepresentations, but were not


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pleaded with the requisite particularity. Nor do Plaintiffs adequately plead either

injury from any alleged misrepresentation or that they engaged in any consumer

transactions with Equifax.     Likewise, Plaintiffs assert defective claims under

statutes that prohibit private plaintiffs from suing; fail to allege facts showing that

Equifax unduly delayed notifying consumers about the data breach; and allege no

facts showing that they were injured by any delay in notification.

      Equifax shares Plaintiffs’ concerns about the safety and security of

consumers’ PII—and has taken historic strides to strengthen its cybersecurity

practices following the breach. But the CCC is no solution to Plaintiffs’ concerns.

Its claims are defective as a matter of law and must be dismissed.

          FACTUAL BACKGROUND & PROCEDURAL HISTORY
      A. The parties.       Plaintiffs are 96 consumers, allegedly representing
                                                                     2
consumers in all fifty U.S. states plus the District of Columbia, who claim that

their PII was compromised when malicious hackers infiltrated Equifax’s computer

systems between May 13 and July 30, 2017. See CCC ¶¶ 13–108. Although they

banded together to file a purported class action lawsuit, Plaintiffs allege highly

disparate claims and harms arising from the theft of their PII.

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  Although Plaintiffs allege claims under the laws of Puerto Rico and the Virgin
Islands, no Plaintiff alleges any connection to either of those territories. See
generally CCC ¶¶ 13–108.

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      Defendant Equifax, a Georgia corporation with its principal place of

business in Atlanta, Georgia, is a leading global provider of information, human-

resources, and data-analytics services for businesses, governments, and consumers.

Information stored on Equifax servers was accessed during the 2017 data breach.

      Defendant EIS, a subsidiary of Equifax, is a Georgia limited liability

company. EIS is a national consumer reporting agency that stores and furnishes

consumer credit reporting data. EIS records were not accessed during the data

breach. See CCC ¶ 272.

      Defendant ECS, a subsidiary of Equifax, is a Georgia limited liability

company that (among other things) offers credit monitoring services to consumers.
                                      3
      B. The Equifax Data Breach.             Late in the evening of July 29, 2017,

Equifax Security personnel observed suspicious network traffic associated with its

U.S. online dispute portal web application. See CCC ¶ 196. Equifax Security

promptly investigated and blocked this suspicious traffic, and continued

monitoring network traffic associated with the portal. See id. ¶ 197. The next day,

Equifax Security identified further suspicious activity and took the dispute portal

offline. See id.


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  For purposes of this Motion to Dismiss, Equifax accepts, as it must, the factual
allegations in the CCC as true.

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      Equifax then promptly retained Mandiant, a leading independent

cybersecurity firm, to assist in a comprehensive forensic review. See CCC ¶ 201.

Equifax also reported the incident to the FBI. See id.

      Equifax and Mandiant diligently analyzed forensic traces in Equifax’s

systems to assess the scope of the intrusion. See, e.g., CCC ¶¶ 202, 204, 206, 207,

212. Investigation revealed that hackers had exploited a vulnerability in Apache

Struts, an open-source programming framework, to break into the dispute portal.

See id. ¶ 246. As the investigation proceeded, Equifax learned that the attackers

might have accessed database tables containing consumers’ PII. See id. ¶ 206. But

neither Equifax nor Mandiant found any evidence of unauthorized activity in EIS’s

core consumer or commercial credit-reporting databases. See id. ¶ 272. Equifax

eventually determined that, between May 13 and July 30, 2017, the criminal

hackers had accessed certain files containing PII. See id. ¶ 195.

      Despite those prompt and diligent efforts, the size and complexity of the

intrusion meant that determining its scope—and identifying the consumers whose

PII had been affected—required several weeks. See CCC ¶¶ 212. By September 4,

2017, Equifax had identified 143 million consumers whose PII had been accessed.

See id. Ultimately, Equifax determined that the attackers had accessed 146.6

million U.S. consumers’ names and birthdates, 145.5 million Social Security


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numbers, 99 million addresses, 20.3 million telephone numbers, and 17.6 million

driver’s license numbers. See id. ¶¶ 212 & 257. The attackers also accessed much

smaller amounts of other data—1.8 million email addresses, 209,000 payment card

credentials, 97,500 tax IDs, and 27,000 driver’s license state fields. See id.

      C. Equifax’s Notification and Remediation Efforts. On September 7, 2017,

once it had determined the identities of the consumers whose PII was potentially

affected in the data security breach, Equifax issued a national press release

announcing the incident. See CCC ¶ 227. It also provided written notification of

the incident to all state attorneys general and to state and federal regulatory bodies,

including the Federal Trade Commission (“FTC”). Equifax established a dedicated

call center to answer consumers’ questions.        See id. ¶ 149.    And it set up a

dedicated website providing a lookup tool to tell consumers whether their PII was

compromised in the breach, along with more information about the incident and a

list of state specific data breach disclosures. See id. ¶¶ 231–32. Equifax also

directly notified by mail consumers whose payment-card information or dispute

documents had been accessed. See, e.g., CCC ¶¶ 26, 33 & 60.

      In an unprecedented step to help consumers protect their PII following the

breach, Equifax offered all U.S. consumers a full suite of credit-monitoring and

identity-theft-protection services free of charge, regardless of whether their PII had


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been compromised in the breach. See CCC ¶ 233. Those services include 3-

bureau credit monitoring, free Equifax credit reports, the ability to lock and unlock

Equifax credit reports, identity-theft insurance, and internet scanning for Social

Security numbers.     Millions of consumers registered for these free services.

Equifax also offered free credit freezes (and refunds for previously implemented

freezes) to all U.S. consumers. And starting in January 2018, Equifax rolled out its

Lock & Alert service, which enables all U.S. consumers to easily lock and unlock

their Equifax credit reports for free, for life using a computer or smartphone.

      D. Procedural Background. On September 7, 2017—the very day Equifax

announced the data breach—plaintiffs began filing lawsuits throughout the

country. After consolidation of hundreds of cases in this Court and appointment of

lead counsel, Plaintiffs filed their 556-page CCC. The CCC asserts six claims on

behalf of a putative nationwide class of all U.S. consumers whose PII was

compromised in the data breach:        (i) violation of the FCRA; (ii) negligence;

(iii) negligence per se; (iv) violation of Georgia’s Fair Business Practices Act;

(v) unjust enrichment; and (vi) declaratory judgment. The CCC further asserts

breach-of-contract claims on behalf of putative “Contract Subclasses” consisting of

affected U.S. consumers who either bought Equifax’s credit-monitoring or

identity-theft-protection services, or (allegedly subject to the Company’s Privacy


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Policy) gave PII to Equifax as part of some other transaction. The CCC also

asserts a claim under section 1681(g) of the FCRA on behalf of a putative subclass

of affected U.S. consumers who obtained credit-file disclosures from Equifax

between July 29, 2017 and the present. Finally, the CCC asserts a host of claims

under various state consumer-fraud and deceptive-trade-practices laws, and data-

breach-notification statutes, on behalf of various putative Statewide Subclasses.

                   LEGAL STANDARD & CHOICE OF LAW

      A.     Pleading requirements.
      To survive a motion to dismiss under Rule 12(b)(6), a complaint must

contain “sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation

marks omitted). The standard “demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation”; mere “labels and conclusions” or a “formulaic

recitation of the elements of a cause of action will not do.” Id. (quotation marks

omitted). The standard is higher for claims sounding in fraud. Those claims

require the plaintiff to plead “with particularity,” Fed. R. Civ. P. 9(b), which

requires detailed allegations of the circumstances surrounding the alleged fraud or

misrepresentation. See Ambrosia Coal & Constr. Co. v. Pages Morales, 482 F.3d

1309, 1316–17 (11th Cir. 2007).



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      B.     Choice of law.
      “A federal court sitting in diversity will apply the conflict-of-laws rules of

the forum state.” Grupo Televisa, S.A. v. Telemundo Commc’ns Grp., Inc., 485

F.3d 1233, 1240 (11th Cir. 2007). Georgia’s choice-of-law rule is lex loci delicti—

the law of the place of injury. Dowis v. Mud Slingers, Inc., 621 S.E.2d 413, 419

(Ga. 2005). As a result, when statutes of a foreign state govern a claim sounding

in tort, Georgia courts defer “[a]s a matter of comity” to those statutes unless they

are inconsistent with Georgia’s public policy. Coon v. Med. Ctr., Inc., 797 S.E.2d

828, 834 (Ga. 2017). But when no statute governs the claim, “a Georgia court will

apply the common law as expounded by the courts of Georgia.” Id.

      Plaintiffs have identified no foreign-state statutes that govern their common-

law claims, and instead assert that “the common law of Georgia applies to the

nationwide common law claims of all Nationwide Class members.” CCC ¶ 313.

For the purposes of this Motion to Dismiss, therefore, this Court should presume

that Georgia common law governs those claims. In re Stand ’n Seal Prods. Liab.

Litig., No. 1:07-MD-1804-TWT, 2009 WL 2998003, at *2 (N.D. Ga. Sept. 15,

2009) (“If the parties do not identify any foreign statutes in their pleadings, it is

presumed that no foreign statutes are involved.”).




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                                  ARGUMENT

I.    THE CLAIMS PLAINTIFFS ASSERT ON BEHALF OF A PUTATIVE
      NATIONWIDE CLASS ARE DEFECTIVE AND MUST BE
      DISMISSED.

      A.    Plaintiffs’ Fair Credit Reporting Act Claims Must Be Dismissed.

      All Plaintiffs, on behalf of a putative nationwide class, have asserted a claim

for violation of the FCRA, 15 U.S.C. § 1681 et seq. They allege that Equifax

“furnished Plaintiffs’ … consumer reports to unauthorized third parties” in

violation of § 1681b, and that Equifax “failed to maintain reasonable procedures

designed to limit” to permissible purposes “the furnishing of Class members’

consumer reports,” in violation of § 1681e. CCC ¶¶ 321, 324 & 326. But under

§ 1681b, Equifax did not “furnish” information to the criminal hackers, and in any

event, the stolen PII was not a “consumer report.” And because Plaintiffs cannot

show a violation of § 1681b, the § 1681e claim fails.

            1.     Equifax Did Not “Furnish” Any Information To The
                   Criminal Hackers Who Broke Into Its System.
      Plaintiffs cannot maintain a claim under § 1681b because Equifax did not

“furnish” information to the criminals who hacked into its systems.          To the

contrary, the attackers stole information from Equifax.         Under the FCRA,

“furnishing” requires a purposeful disclosure. Courts have unanimously ruled that

information stolen from a CRA is not information the CRA “furnished.” E.g.,


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Galaria v. Nationwide Mut. Ins. Co., No. 2:13-cv-118, 2017 WL 4987663, at *4

(S.D. Ohio Aug. 16, 2017) (data obtained from data breach was stolen, not

“furnished”); In re Experian Data Breach Litig., No. SACV 15-1592 AG (DFMx),

2016 WL 7973595, at *2 (C.D. Cal. Dec. 29, 2016) (“[T]hese allegations are all

based on the fact that Defendants’ data was stolen by a third party, not furnished to

the third party.”); see also Dolmage v. Combined Ins. Co. of Am., No. 14 C 3809,

2015 WL 292947, at *4 (N.D. Ill. Jan. 21, 2015) (collecting cases). Even assuming
                                                                                  4
all Defendants were CRAs subject to the FCRA (and only EIS is actually a CRA ),

Plaintiffs’ failure to allege that Equifax “furnish[ed]” anything to criminal hackers

requires dismissal of the § 1681b claim.

             2.    The Stolen PII Is Not A “Consumer Report” Under The
                   FCRA.
      Plaintiffs’ FCRA claims must be dismissed for a second independent reason.

The information compromised in the data breach consists of names, birthdates,

Social Security numbers, physical and email addresses, gender identifiers,

telephone numbers, payment card numbers and expiry dates, tax IDs, driver’s

license numbers, and driver’s license state of issuance data. See CCC ¶ 257. As a

matter of law, none of this PII in itself “bear[s] on” consumers’ creditworthiness,

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 See, e.g., McDonald v. Equifax Inc., No. 3:15-CV-3212-B, 2017 WL 879224, at
*8 (N.D. Tex. Mar. 6, 2017).

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character, or “mode of living.” See 15 U.S.C. § 1681a(d)(1) (defining “consumer

report”). Courts have therefore consistently ruled that this type of information,

known as “header” data, does not constitute a “consumer report” under the FCRA.

See id.; Bickley v. Dish Network, LLC, 751 F.3d 724, 729 (6th Cir. 2014) (“header

information” was not a “consumer report”); Parker v. Equifax Info. Servs., LLC,

No. 2:15-cv-14365, 2017 WL 4003437, at *1, *3 (E.D. Mich. Sept. 12, 2017)

(“header data” including “name, phone number, social security number, date of

birth, driver’s license, current address, and time spent at that address” “does not

constitute a consumer report because the information does not bear on … credit

worthiness”); Smith v. Waverly Partners, LLC, No. 3:10-CV-28, 2011 WL

3564427, at *5 (W.D.N.C. Aug. 12, 2011) (plaintiff’s “name, Social Security

Number, prior addresses, date of birth, and driver’s license information” was “not a

consumer report”); Ali v. Vikar Mgmt. Ltd., 994 F. Supp. 492, 499 (S.D.N.Y. 1998)

(“address information” was not a “consumer report”); Dotzler v. Perot, 914 F.

Supp. 328, 330–31 (E.D. Mo. 1996) (“address update containing plaintiffs’ names

and current and former addresses as well as … social security information” was not

a “consumer report”), aff’d, 124 F.3d 207 (8th Cir. 1997).

      The Federal Trade Commission—which has regulated CRAs for the past 40

years—agrees. In its 1995 Commentary on the FCRA, the FTC stated that “[a]


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report limited solely to the consumer’s name and address alone … does not

constitute a ‘consumer report,’ if it does not bear on” creditworthiness.

Commentary on the FCRA, 16 C.F.R. Part 600 App. at 379–80 (1995); see also

Trans Union Corp. v. FTC, 81 F.3d 228, 232 (D.C. Cir. 1996) (agreeing with the

FTC that “lists from [a CRA’s] credit reporting database based on such

‘identifying information’ as name, zip code, age, social security number or

‘substantially similar identifiers’” were not “consumer report[s]”). Because the

compromised PII does not “bear[] on” the statutory creditworthiness factors, it

does not constitute a “consumer report,” and Plaintiffs’ § 1681b claim fails.

             3.    Because Plaintiffs’ § 1681b Claims Fail, Their § 1681e(a)
                   Claim Necessarily Fails As Well.
      Plaintiffs’ § 1681e claims fail for the same reasons. Section 1681e requires

that “[e]very consumer reporting agency shall maintain reasonable procedures

designed to … limit the furnishing of consumer reports to the purposes listed under

section 1681b of this title.” (Emphasis added.) “[A] plaintiff bringing a claim that

a reporting agency violated the ‘reasonable procedures’ requirement of § 1681e

must first show that the reporting agency released the report in violation of

§ 1681b.” Washington v. CSC Credit Servs., 199 F.3d 263, 266–67 (5th Cir.

2000); Farmer v. Phillips Agency, Inc., 285 F.R.D. 688, 698 (N.D. Ga. 2012) (“To

sustain a claim under § 1681e(b), a consumer must show that an inaccurate report

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was furnished by a CRA”); see also Cahlin v. Gen. Motors Acceptance Corp., 936

F.2d 1151, 1156 (11th Cir. 1991) (same); Experian, 2016 WL 7973595, at *2

(plaintiff bringing a claim under § 1681e “must first show that the reporting agency

released the report in violation of § 1681b”) (quotation marks omitted). Because

Plaintiffs’ claims under § 1681b fail, Plaintiffs cannot maintain a claim under

§ 1681e(a).

      B.      Plaintiffs’ Claims of Injury Globally Fail To Allege Cognizable
              Harms Caused By Equifax.
      All of Plaintiffs’ tort claims—including the claims for negligence,

negligence per se, and state consumer-fraud-act violations—require a showing of

injury and proximate causation. But Plaintiffs’ alleged injuries are not legally

cognizable harms. And even if a Plaintiff has arguably alleged an injury, not one

has alleged that Equifax proximately caused the injury. The failure to plead legally

cognizable harms proximately caused by Equifax means that each claim for which

injury and proximate causation are necessary elements must fail.

              1.    Plaintiffs’ Non-Harms And Speculative Future Harms Are
                    Not Legally Cognizable Injuries.
      Whether a given Plaintiff has alleged a cognizable injury is necessarily a

highly individualized question, yet the CCC is devoid of sufficient individualized

facts. Griffin v. Dugger, 823 F.2d 1476, 1482–83 (11th Cir. 1987) (“[A] plaintiff



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must allege and show that he personally suffered injury.… [A] plaintiff cannot

include class action allegations in a complaint and expect to be relieved of

personally meeting the[se] requirements….”).            For efficiency, in this

Memorandum, Equifax has put Plaintiffs into categories corresponding to the basic

types of harms they allege. See Ex. 1 (table summarizing which allegations of

harm each Plaintiff has raised). And as shown below, Plaintiffs’ alleged harms

largely do not amount to legally cognizable injuries.

      a. Compromise of PII. All Plaintiffs allege that their PII was compromised

in the data breach. See CCC ¶¶ 13–108; see also Table (Ex. 1). But in Georgia,

the “compromise” of PII is not enough to support a claim. See, e.g., Rite Aid of

Ga., Inc. v. Peacock, 726 S.E.2d 577, 580 (Ga. Ct. App. 2012) (plaintiff “suffered

no injury” from allegedly illegal sale of PII); Finnerty v. State Bank & Trust Co.,

687 S.E.2d 842, 845 (Ga. Ct. App. 2009), disapproved in part on other grounds by

Cumberland Contractors, Inc. v. State Bank & Trust Co., 755 S.E.2d 511 (Ga. Ct.

App. 2014); see also Pisciotta v. Old Nat’l Bancorp, 499 F.3d 629, 634–35, 640

(7th Cir. 2007) (affirming dismissal of negligence claim in data-breach suit

because “the harm caused by identity information exposure, coupled with the

attendant costs to guard against identity theft” do not support a claim for

negligence). In Finnerty, for example, the Georgia Court of Appeals held that the


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release of a Social Security number was not a sufficient injury to state a claim for

negligence—even though the plaintiff alleged “increased risk of identity theft” and

that “non-authorized third parties [had] access to … otherwise confidential

personal information.” 687 S.E.2d at 845 (quotation marks omitted). Just so here:

the alleged compromise of Plaintiffs’ PII is not a legally cognizable injury under

Georgia law.

      b. Unspecified Future Harms. All Plaintiffs further allege that they are at a

“substantial and imminent risk” of unspecified “future harm.” See CCC ¶¶ 13–

108; see also Table (Ex. 1). But Plaintiffs’ “fear of future damages [from identity

theft] is too speculative to form the basis for recovery.” Finnerty, 687 S.E.2d at

845; Randolph v. ING Life Ins. & Annuity Co., 973 A.2d 702, 708 n.9 (D.C. 2009)

(collecting cases holding that the “absence of allegations of present injury” is fatal

to plaintiffs’ tort claims). And Plaintiffs plead no facts demonstrating that any

future harm is “substantial” or “imminent”—to the contrary, it is not likely that any

Plaintiff will suffer future harm from the Equifax data breach. See infra Section

I.B.2; In re SuperValu, Inc., 870 F.3d 763, 771 (8th Cir. 2017) (“data breaches are

unlikely to result in account fraud”) (discussing GAO Report GAO-07-737).

      c. Mitigation of Future Harms. Many Plaintiffs allege that they had to

spend “time and effort” to mitigate future harm from the data breach. E.g., CCC


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¶¶ 17, 21, 57; see also Table (Ex. 1). Some Plaintiffs also allege that they spent

money to mitigate the risk of future harm—e.g., by buying credit monitoring or

identity theft insurance (despite Equifax offering these services for free to all U.S.

consumers). E.g., CCC ¶¶ 22, 46, 54; see also Table (Ex. 1). But “[t]he majority

of courts in data breach cases have held that the cost to mitigate the risk of future

harm does not constitute an injury … unless the future harm being mitigated

against is itself imminent.” Torres v. Wendy’s Co., 195 F. Supp. 3d 1278, 1284

(M.D. Fla. 2016) (quotation marks omitted); see also SuperValu, 870 F.3d at 771;

Randolph, 973 A.2d at 708 n.9. Here, since the CCC is devoid of facts suggesting

that any harm is imminent or even likely—e.g., facts showing that the criminal

hackers intend to use Plaintiffs’ PII to commit more crimes—Plaintiffs cannot rely

on time and money spent mitigating those theoretical future harms as an injury.

      d. Payment-Card Fraud. Plaintiffs Kleveno, Martucci, and Etten allege that

their payment-card numbers were compromised and that they later suffered
                   5
fraudulent charges. CCC ¶¶ 26, 33, 60. None of those Plaintiffs, however, allege

the date on which any fraudulent charges were made or that he has not been

reimbursed for those charges. See id. As a result, these Plaintiffs have failed to

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 Plaintiff Crowell also alleges that his payment card was compromised but does
not allege fraudulent charges. ¶ 80. Instead, he alleges only time and effort—not
money—spent in hope of mitigating future harms. Id.

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plead a cognizable injury at all—much less one resulting from the Equifax data

breach.   See, e.g., Provost v. Aptos, Inc., No. 1:17-cv-02120-ELR, 2018 WL

1465766, at *3 (N.D. Ga. Mar. 12, 2018) (plaintiff who failed to allege that “she

requested reimbursement from her bank or that she was denied such

reimbursement” suffered no injury); Torres, 195 F. Supp. 3d at 1282–83 (plaintiff

who did not allege “charges went unreimbursed by his credit union” had “not

alleged any monetary harm” from fraudulent charges); Burton v. MAPCO Express,

Inc., 47 F. Supp. 3d 1279, 1283, 1285 (N.D. Ala. 2014) (when fraudulent charges

were reimbursed, plaintiff suffered no actual injury).

      This theory of injury, moreover, does not apply to the overwhelming

majority of Plaintiffs or putative class members. As Plaintiffs concede, just a

fraction (less than one fifth of one percent) of affected consumers’ stolen records

included payment-card information. CCC ¶ 212.

             2.    Independently, Plaintiffs Have Failed To Allege That
                   Equifax Proximately Caused Their Alleged Injuries.

      Under Georgia law, “[i]f the damage incurred by the plaintiff is only the …

possible result of a tortious act or if other and contingent circumstances

preponderate in causing the injury, such damage is too remote to be the basis of

recovery against the wrongdoer.” O.C.G.A. § 51-12-8. Thus, a “wrongdoer is not

responsible for a consequence which is merely possible, according to occasional

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experience, but only for a consequence which is probable, according to ordinary

and usual experience.” Morris v. Baxter, 483 S.E.2d 650, 651 (Ga. Ct. App. 1997).

      Plaintiffs fail to allege that any damages from identity theft, payment-card

fraud, or similar theories resulted from the Equifax data breach and not some other

data breach or fraudulent activity. Plaintiffs highlight “dozens” of other data

breaches dating back to 2013 in which the PII of billions of individuals was stolen.

CCC ¶¶ 160–65. Indeed, 2017 alone saw 1,579 data breaches across the United

States. See Fin. Inst. Pls.’ Consol. Am. Compl. ¶ 139 (May 30, 2018), ECF No.

390 (citing Identity Theft Resource Ctr., 2017 End of Year Report, at 6 (2018),

https://bit.ly/2sCibRG).   Importantly, no Plaintiff alleges that her PII was not

stolen in other data breaches. See generally CCC. Given how often data breaches

occur, Plaintiffs’ attempt to blame Equifax is guesswork at best. Morris, 483

S.E.2d at 651. Certainly, no individual Plaintiff has alleged (or could allege) facts

tying any actual harm to the Equifax breach.

      In any event, Plaintiffs have not alleged that Equifax is itself directly

responsible for any injury.    Instead, each of the injuries Plaintiffs allege was

proximately caused by an unidentified third party’s criminal acts—breaking into

Equifax’s servers and stealing information stored on them.          See 18 U.S.C.

§ 1030(a)(5)(C) (making it a federal crime to “intentionally access[] a protected


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computer without authorization”). Unforeseeable criminal acts of third parties

“insulat[e] and exclud[e] the negligence of the defendant” from liability.

Goldstein, Garber & Salama, LLC v. J.B., 797 S.E.2d 87, 89 (Ga. 2017) (quotation

marks omitted). And criminal acts are foreseeable only if they are the “probable or

natural consequences” of “the original wrongful act.” Id. at 89–90; see also id. at

90–91 (mere “aware[ness]” that an event “can occur” does not create liability).

      In Andrews v. Kinsel, 40 S.E. 300 (Ga. 1901), a store lessee sued its landlord

after the store was burglarized. The landlord had left windows in an adjoining

store open and had also taken down a partition between the two stores. Id. at 300.

The lessee alleged that leaving open the partition and windows, and that failing to

notify the lessee that the store was open, constituted negligence that proximately

caused the lessee’s injuries. Id. The Georgia Supreme Court disagreed, holding

that “there intervened as a direct cause between the negligence of the defendant

and the damage sustained by [plaintiffs] the independent criminal act of a

responsible human agency,” and so the trial court should have dismissed the case.

Id. at 301. Under Andrews, Plaintiffs’ strained theory of proximate causation fails.

      Nor has any Plaintiff pleaded that any future identity theft or fraud is a

probable consequence of the data breach. Plaintiffs have failed to plead facts that

show that identity fraud is likely to result when a consumer’s PII is compromised,


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see SuperValu, 870 F.3d at 771, and any such harm would necessarily involve a

second intervening criminal act in any case, see 18 U.S.C. § 1028, further

attenuating any causal connection to the breach. See Andrews, 40 S.E. at 301.

            3.     Economic Loss Doctrine.
      Even if Plaintiffs’ allegations of injury and causation were otherwise

sufficient, the economic loss doctrine bars their tort claims. In General Electric

Co. v. Lowe’s Home Centers, Inc., 608 S.E.2d 636, 637 (Ga. 2005), the Georgia

Supreme Court held that “[u]nder the economic loss rule, a [contracting party] can

recover in tort only those economic losses resulting from injury to his person or

damage to his property.” (Emphasis added.) And in Remax Mountain Co. v.

Tabsum, Inc., 634 S.E.2d 77, 79 & n.6 (Ga. Ct. App. 2006), cert. denied Nov. 6,

2006, the Court of Appeals held that the economic loss rule bars tort claims for

economic damages even where no contract exists. No Plaintiff has alleged any

personal injury or property damage (nor could they). See CCC ¶¶ 13–108 &

294(a)–(k). All Plaintiffs’ tort claims should therefore be dismissed. See, e.g.,

Willingham v. Global Payments, Inc., No. 1:12-cv-01157-RWS, 2013 WL 440702,

at *18 (N.D. Ga. Feb. 5, 2013) (King, Mag. J. R. & R.). At a minimum, because

they had a contract with Equifax, see infra Section II.A, the Contract Plaintiffs’

tort claims must be dismissed. See Lowe’s, 608 S.E.2d at 637.



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      C.     Plaintiffs’ Negligence And Declaratory Judgment Claims Must Be
             Dismissed.
      To succeed on a negligence claim, a plaintiff must prove “the existence of a

duty on the part of the defendant, a breach of such duty, causation of the injury

alleged, and damages as a result of the alleged breach of duty.” Wells Fargo Bank,

N.A. v. Jenkins, 744 S.E.2d 686, 687 (Ga. 2013). Because Georgia law imposes no

legally applicable duty to safeguard PII, Plaintiffs cannot maintain their negligence

claims. The absence of a duty also defeats their claim for a declaratory judgment.

             1.    Georgia Law Does Not Impose Any Applicable Duty Of
                   Care, So Plaintiffs’ Negligence And Declaratory Judgment
                   Claims Must Be Dismissed.
      a. Georgia Law Imposes No Relevant Duty Of Care. “The threshold issue

in any cause of action for negligence is whether, and to what extent, the defendant

owes the plaintiff a duty of care.” Access Mgmt. Grp., L.P. v. Hanham, 812 S.E.2d

509, 512 (Ga. Ct. App. 2018) (quotation marks omitted). Whether a duty exists is

a question of law. Id.

      The Georgia Court of Appeals recently decided the legal question central to

Plaintiffs’ negligence claim, holding that “a duty of care to safeguard personal

information … has no source in Georgia statutory law or caselaw.”                See

McConnell v. Ga. Dep’t of Labor, — S.E.2d —, No. A16A0655, 2018 WL

2173252, at *6 (Ga. Ct. App. May 11, 2018), cert. pending (“McConnell III”)


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(emphasis added). Plaintiffs’ negligence claim accordingly fails at the threshold.

And Plaintiffs’ claim for declaratory judgment, which seeks a declaration that

Equifax owed a “dut[y] to reasonably safeguard its customers’ Personal

Information,” fails for the same reason. See CCC ¶¶ 392–99 (Count 6).

      In McConnell, an employee of the Georgia Department of Labor sent an

email to over 1,000 recipients containing the PII of over 4,000 individuals,

including their names, Social Security numbers, ages, phone numbers, and email

addresses. McConnell III, 2018 WL 2173252, at *1. One of the individuals whose

information was exposed brought a putative class action against the Department

alleging, among other things, that the Department was negligent in disclosing the

PII. Id. at *1, *5. The trial court dismissed the action on multiple grounds,

including that the Department had sovereign immunity and that the plaintiff failed

to state a claim under Georgia law. Id. at *1. In a June 2016 opinion, the Court of

Appeals affirmed the dismissal for failure to state a claim—holding that no

common-law or statutory duty exists under Georgia law to safeguard another’s

personal information. McConnell v. Dep’t of Labor, 787 S.E.2d 794, 799 (Ga. Ct.

App. 2016) (“McConnell I”).         The Georgia Supreme Court later vacated

McConnell I solely on the ground that the court should have considered the trial

court’s sovereign-immunity ruling, a question of subject-matter jurisdiction, before


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addressing the duty question. McConnell v. Dep’t of Labor, 805 S.E.2d 79, 79–80

(Ga. 2017) (“McConnell II”).

      On remand, in an opinion issued May 11, 2018, the Court of Appeals first

addressed subject-matter jurisdiction as instructed and held that sovereign

immunity did not bar the plaintiff’s claims. McConnell III, 2018 WL 2173252, at

*4.6 The court thus again addressed the merits and, with respect to the negligence

claim, reaffirmed its holding that Georgia law does not permit a negligence claim

to proceed on the theory that the defendant failed to safeguard plaintiff’s PII. Id. at

*6. To succeed on a negligence claim, the court explained, a plaintiff must prove

“the existence of a duty on the part of the defendant, a breach of that duty,

causation of the alleged injury, and damages resulting from the alleged breach of

the duty.” Id. at *5 (quotation marks omitted). The duty must arise “either from a

valid legislative enactment, that is, by statute, or be imposed by a common law

principle recognized in the caselaw.” Id. (quotation marks omitted). Because a

duty to safeguard PII “has no source in Georgia statutory law or caselaw,” the

court held, the plaintiff had failed to state a claim. Id. at *6.

6
  One judge specially concurred in the panel’s sovereign immunity holding,
rendering that portion of case “physical precedent only.” Ga. Ct. App. R.
33.2(a)(1); McConnell III, 2018 WL 2173252, at *10. All judges concurred fully
in the remainder of the opinion, making those portions—including the negligence
holding—“binding precedent” in Georgia. See Ga. Ct. App. R. 33.2(a)(1).

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      b. McConnell III Is Binding. A federal Court sitting in diversity must

“decide the case the way it appears the [Georgia] Supreme Court would decide it.”

KMS Rest. Corp. v. Wendy’s Int’l, Inc., 361 F.3d 1321, 1325 (11th Cir. 2004). And

“[i]n the absence of any [Georgia] Supreme Court decisions close enough on

point,” the Court must “look to decisions of the [Georgia] intermediate appellate

courts and follow them unless there is some really persuasive indication that the

[Georgia] Supreme Court would go the other way.” Id. (emphasis added). Absent

“persuasive evidence that the [Georgia Supreme Court] would rule otherwise,” this

Court is “bound” to follow the Georgia Court of Appeals’ decision. Bravo v.

United States, 577 F.3d 1324, 1326 (11th Cir. 2009) (quotation marks omitted).

      Here, there is no “really persuasive indication” that McConnell III’s duty

analysis is wrong. See KMS Rest. Corp., 361 F.3d at 1325. To the contrary,

McConnell III is fully in line with the Georgia Supreme Court’s decisions on the

question of duty. In Jenkins, 744 S.E.2d at 687–88, the Georgia Supreme Court

rejected the plaintiff’s argument that Georgia law imposes a duty to protect

another’s PII. Id. at 688. The court concluded that the federal Gramm-Leach-

Bliley Act’s “aspirational statement of Congressional policy” was not sufficient to

impose a duty, “the alleged breach of which would give rise … to a cause of action

for negligence,” to guard against unauthorized access to confidential information.


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Id. The Jenkins court further concluded that it would not craft this new duty

itself—indicating that none exists at Georgia common law—and cautioned against

“usurp[ing] legislative authority by inferring or supplying” a duty not found in

statutory or existing case law. Id.

      In line with that caution, the Georgia Supreme Court has explicitly rejected

lower courts’ fashioning of new common-law duties. See, e.g., Albany Urology

Clinic, P.C. v. Cleveland, 528 S.E.2d 777, 780 (Ga. 2000). In Cleveland, the

Supreme Court reversed the Georgia Court of Appeals’ “impos[ition] upon

healthcare providers [of] a new, judicially-created[] duty” because creating such a

duty was “beyond the scope of the appellate court’s authority.” Id. at 780. The

Supreme Court reversed the lower court “notwithstanding the repugnance” of the

defendant doctor’s conduct—the abuse of cocaine while treating the plaintiff

patient, who suffered “acutely painful” injuries from the doctor’s botched surgery.

Id. at 778–80. That the Georgia Supreme Court rejected the imposition of a new

duty on those facts demonstrates that the court would be unlikely to recognize any

new duty here, where Plaintiffs lacking any relationship with Equifax allege

nothing more than economic harms—most of them speculative.

      The Georgia Supreme Court has also recognized that a court “fixing the

bounds of duty” must limit a tortfeasor’s responsibility for “wrongs … to a


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controllable degree.” CSX Transp., Inc. v. Williams, 608 S.E.2d 208, 209 (Ga.

2005) (quotation marks omitted). A court should not “expand traditional tort

concepts beyond manageable bounds” when that would “create an almost infinite

universe of potential plaintiffs.” Id. (quotation marks omitted). The expansive

new duty urged by Plaintiffs would yield an “almost infinite universe of potential

plaintiffs” in this case alone—not to mention when similarly broad classes of

plaintiffs sue other defendants when other data-security breaches inevitably occur.

      c. McConnell III Clarified The Law On Which This Court’s Earlier

Rulings Relied. McConnell III provides reason to revisit this Court’s decisions in

In re Home Depot Customer Data Sec. Breach Litig., No. 1:14-md-2583-TWT,

2016 WL 2897520 (N.D. Ga. May 18, 2016), and In re Arby’s Rest. Grp. Inc.

Litig., No. 1:17-cv-0514-AT, 2018 WL 2128441 (N.D. Ga. Mar. 5, 2018).

      In Home Depot, this Court ruled that Home Depot owed to “a putative class

of financial institutions that issued and owned payment cards compromised by

[Home Depot’s] data breach” a duty to safeguard payment-card data. 2016 WL

2897520, at *2. But Home Depot does not control here, for several reasons. First,

Home Depot is distinguishable on its facts because the plaintiffs there were

financial institutions whose payment-card information was breached. Financial

institutions’ relationships with retailers like Home Depot are governed by contracts


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with card brands. See Cmty. Bank of Trenton v. Schnuck Mkts., Inc., 887 F.3d 803,

808 (7th Cir. 2018). But here, the vast majority of Plaintiffs—and “nearly all”

members of the putative nationwide class—have no direct relationship, contractual
                          7
or otherwise, with Equifax. See CCC ¶ 4.

      Second, McConnell III clarified the law on which Home Depot’s duty ruling

was based. In Home Depot, this Court reasoned that a duty to safeguard PII arose

from broad language in Bradley Center, Inc. v. Wessner, 296 S.E.2d 693, 695 (Ga.

1982), to the effect that defendants owe a “general duty to all the world not to

subject them to an unreasonable risk of harm.” Home Depot, 2016 WL 2897520,

at *3 (quotation marks omitted). Georgia courts, however, have repeatedly limited
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Wessner to its facts. At least one federal Court of Appeals concluded even before


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  And as discussed above, see Section I.B.3, supra, Contract Plaintiffs cannot
maintain a tort action against Equifax under the economic loss rule.
8
  See Miranda v. Fulton DeKalb Hosp. Auth., 644 S.E.2d 164, 168–69 (Ga. Ct.
App. 2007), cert. denied June 25, 2007 (rejecting negligence claim citing Wessner
because there was “no long-standing relation between” plaintiff and defendant);
Walton v. UCC X, Inc., 640 S.E.2d 325, 329 (Ga. Ct. App. 2006), cert. denied Mar.
26, 2007 (rejecting negligence claim because “[t]he control that the defendant
exercised over the mental patient in Wessner is lacking here”); Houston v.
Bedgood, 588 S.E.2d 437, 440 (Ga. Ct. App. 2003), cert. denied Feb. 2, 2004
(negligence claim lacking element of control “reflects a fundamental
misunderstanding of Wessner”); Purcell v. Breese, 552 S.E.2d 865, 868 (Ga. Ct.
App. 2001), cert. denied Jan. 10, 2002 (rejecting Wessner theory of liability
because “privity” existed between plaintiff and defendant); Ermutlu v. McCorkle,
416 S.E.2d 792, 794–95 (Ga. Ct. App. 1992), cert. denied Apr. 24, 1992

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McConnell III that the vacated McConnell I decision indicated that Home Depot’s

“prediction of Georgia law … seems to have been incorrect.” Schnuck Mkts., 887

F.3d at 819 & n.8. McConnell III erases any lingering doubt: Wessner simply

does not impose the duty Plaintiffs allege Equifax owed.

      In Arby’s, this Court expanded on Home Depot, concluding that defendant

Arby’s owed a duty to safeguard its customers’ personal data. See 2018 WL

2128441, at *3–7. The Arby’s Court considered and rejected the reasoning of

McConnell I. First, Arby’s noted that McConnell I had been vacated. 2018 WL

2128441, at *6. After McConnell III, that justification is no longer valid.

      Second, the Arby’s Court attempted to distinguish McConnell from Home

Depot on its facts. Id. It reasoned that, unlike the Home Depot plaintiffs, Mr.

McConnell had not pleaded facts demonstrating that the disclosure of his PII was

foreseeable (e.g., facts that the Department of Labor was on notice that it needed to

implement better security measures). See 2018 WL 2128441, at *6. But under

Georgia’s notice-pleading standard, McConnell would not have been required to

plead detailed allegations of foreseeability; instead, he would have been entitled to

(describing Wessner test as “determining under what circumstances a physician
may be liable to a third party”); Driebe v. Cox, 416 S.E.2d 314, 316 (Ga. Ct. App.
1992), cert. denied Apr. 6, 1992 (rejecting Wessner argument due to lack of
“foreseeability”); Baldwin v. Hosp. Auth. of Fulton Cty., 383 S.E.2d 154, 156–57
(Ga. Ct. App. 1989) (rejecting Wessner argument because “none of the defendants
… ever had ‘control’” of third party patient and harm was unforeseeable).

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develop those facts during discovery. See id. at *5. The holding of McConnell III,

in short, does not stand only for the narrow rule that there is no duty in the context

of an unforeseeable data breach. Rather, its holding is broad and fatal to Plaintiffs’

claim: Georgia law does not impose “a standard of conduct intended to protect the

security of personal information.” Id. at *7.

      d. Plaintiffs Fail to Allege any Other Cognizable Common Law Duty. To

support their negligence claim, Plaintiffs also appear to suggest that Equifax

voluntarily undertook a duty.     See, e.g., CCC ¶ 338–39.       But while Equifax

recognizes the importance of safeguarding consumers’ data, this claim fails as a

matter of law. Georgia has adopted Section 324A of the Restatement (Second) of

Torts governing an undertaking to protect another’s property.           See Pate v.

Oakwood Mobile Homes, Inc., 374 F.3d 1081, 1086 (11th Cir. 2004). Under that

“good Samaritan” provision, an undertaken duty extends only to preventing

“physical harm” to another’s person or property. Restatement (Second) of Torts

§§ 323, 324A (emphasis added); see also Huggins v. Aetna Cas. & Sur. Co., 264

S.E.2d 191, 192 (Ga. 1980) (adopting “majority rule” of Restatement § 324A);

Willingham, 2013 WL 440702 at *18. Plaintiffs allege no physical injury to

themselves or their property.        See CCC ¶¶ 13–108 (individual plaintiffs’

allegations of harm) & 294(a)–(k) (generalized allegations of harm). Nor does


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Plaintiffs’ allegation that Equifax contractually requires its business partners to

safeguard information, see CCC ¶¶ 341–42, show that Equifax undertook a legal

duty owed to Plaintiffs.

      Because Georgia law does not impose the duty Plaintiffs allege, their

negligence and declaratory judgment claims (Counts 2 and 6) fail.

             2.    The FCRA Imposes No Relevant Duty Of Care.
      Plaintiffs allege a duty “based on the FCRA” to “maintain reasonable

procedures designed to avoid unauthorized release of information contained in

consumer reports.” This allegation of duty is merely Plaintiffs’ defective FCRA

claims—suggesting that Equifax furnished consumer reports to the attackers—

recast as a tort. But as explained above, Equifax did not “furnish” any information,

nor did the stolen information constitute “consumer reports.” This Court should

accordingly reject this theory for the same reasons it should reject Plaintiffs’

FCRA claims. See supra Section I.A.

             3.    No Equifax Act Or Omission Proximately Caused Any
                   Cognizable Injury To Plaintiffs.
      As discussed above, Plaintiffs have failed to sufficiently allege any legally

cognizable harm that was proximately caused by Equifax. See supra Sections

I.B.1 & I.B.2. The failure to sufficiently allege causation or injury is fatal to a

negligence claim. See Jenkins, 744 S.E.2d at 687.


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      D.        Plaintiffs’ Negligence Per Se Claim Must Be Dismissed.
      Plaintiffs allege that “Equifax violated Section 5 of the FTC Act (and

[unspecified] similar state statutes),” and that this violation “constitutes negligence
           9
per se.”       CCC ¶ 350. Because Plaintiffs do not identify any statute imposing a

specific duty of care to safeguard personal information, and because in any event,

they have failed to allege injury or causation, this Court should dismiss Count 3.

                1.    Plaintiffs Cannot Maintain A Negligence Per Se Action
                      Under The Statutes They Cite.
      Georgia law limits negligence per se to statutes that “provide for certain

duties” or that call for “the performance of … specific acts.” Jenkins, 744 S.E.2d

at 688 (emphasis added). A claim that a defendant violated a statute whose duty is

“too indefinite” cannot “constitute negligence per se.” Brock v. Avery Co., 110

S.E.2d 122, 126 (Ga. Ct. App. 1959) (quotation marks omitted). Instead, any duty

must be “imposed expressly by the statute at issue with specificity.” Bellsouth

Telecommc’ns LLC v. Cobb Cty., 802 S.E.2d 686, 698 (Ga. Ct. App. 2017)

(Dillard, P.J., concurring), cert. granted Apr. 16, 2018. Further, the duty must be


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  Plaintiffs press substantially the same claim as part of their negligence count.
CCC ¶ 337. But a claim that a statute supplies a duty of care for negligence
purposes is in fact a claim for negligence per se. See, e.g., Norman v. Jones Lang
Lasalle Ams., Inc., 627 S.E.2d 382, 388 (Ga. Ct. App. 2006) (“negligence per se
arises when a statute or ordinance is violated.”). The negligence claim thus fails
for the same reasons discussed here.

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based on violation of a rule that has “the force of law.” Norman v. Jones Lang

Lasalle Ams., Inc., 627 S.E.2d 382, 388 (Ga. Ct. App. 2006) (quotation marks

omitted).

      Here, Plaintiffs identify no statutory text imposing with specificity any duty

they allege. Instead, they point broadly to Section 5 of the FTC Act “and similar

state statutes” to contend that those statutes impose a legal duty to safeguard PII.

But the FTC Act does not impose any such duty. See generally 15 U.S.C. § 45. It

only proscribes “unfair or deceptive acts or practices in or affecting commerce.”

Id. That prohibition is not specific enough to recover for negligence per se. See

Jenkins, 744 S.E.2d at 688; Brock, 110 S.E.2d at 126.

      Moreover, Section 5 does not impose substantive requirements unless they

are established elsewhere in the law. LabMD v. Fed. Trade Comm’n, — F.3d —,

No. 16-16270, — F.3d —, 2018 WL 3056794, at *7 (11th Cir. June 6, 2018). To

be “unfair” under Section 5, an act must violate “clear and well-established

policies that are expressed in the Constitution, statutes, or the common law.” Id.

(quotation marks omitted). And, as the Eleventh Circuit held, the only possible

“source of [a] standard of unfairness … holding that … [a] failure to … maintain a

reasonably designed data-security program constitute[s] an unfair act or practice….

is the common law.” Id. The common law, however, imposes no such duty.


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McConnell III, 2018 WL 2173252, at *6. This Court therefore should not read
                                               10
such a duty into Section 5 of the FTC Act.          See LabMD, 2018 WL 3056794, at

*7.

       And, for that matter, no private cause of action exists for violation of the

FTC Act. Fulton v. Hecht, 580 F.2d 1243, 1248 n.2 (5th Cir. 1978). Instead, only

the FTC may pursue an action under Section 5. “The express provision of one

method of enforcing a substantive rule suggests that Congress intended to preclude

others.” Alexander v. Sandoval, 532 U.S. 275, 290 (2001). Permitting a private

plaintiff to sue for negligence per se under the FTC Act would undermine

Congress’s express intent that private plaintiffs not be allowed to sue to enforce it.

       The sole Georgia case permitting a negligence per se claim to go forward

based in part on the FTC Act is not to the contrary. See Legacy Acad., Inc. v.

Mamilove, LLC, 761 S.E.2d 880, 891 (Ga. Ct. App. 2014), vacated in part on other

grounds, 771 S.E.2d 868 (Ga. 2015) & reversed in part on other grounds on

remand, 777 S.E.2d 731 (Ga. Ct. App. 2015). There, the court permitted the claim

only because the defendant did not dispute that it owed a duty, and Plaintiff alleged

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   Equifax is aware that this Court has ruled that a negligence per se claim relying
on Section 5 of the FTC Act can proceed. Arby’s, 2018 WL 2128441, at *7–8;
Home Depot, 2016 WL 2897520, at *4. Equifax respectfully suggests that both
this case’s distinct factual circumstances and the Eleventh Circuit’s intervening
LabMD case provide reason not to follow those rulings here.

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the defendant violated a specific FTC regulation—one that explicitly made a

franchisor’s failure to make certain disclosures to a franchisee “an unfair or

deceptive trade practice in violation of” the FTC Act. Id. at 891 (citing 16 C.F.R.

§ 436.2) & 892 n.25. Because that regulation independently has “the force and

effect of law,” see Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1203 (2015),

and imposes a specific conduct requirement, it renders a negligence per se claim

permissible under Georgia law. Jenkins, 744 S.E.2d at 688; Norman, 627 S.E.2d.

at 388; Brock, 110 S.E.2d at 126.

      Here, by contrast, Plaintiffs point to no similar FTC regulation that requires

safeguarding PII. Instead, they merely claim that the FTC has “pursued” numerous

“enforcement actions” for “failure to employ reasonable data security measures.”

CCC ¶ 353.    Plaintiffs also point to unidentified “FTC publications and data

security breach orders.” Id. ¶ 337. None of these various unidentified orders and

publications can support a negligence per se claim because Plaintiffs have

identified none that “ha[s] the force of law.” Norman, 627 S.E.2d at 388.

      Similarly, although Plaintiffs allege negligence per se under “state statutes,”

they do not identify them. See CCC ¶¶ 348–54. Accordingly, that claim too is

insufficiently specific to state a negligence per se claim under Georgia law. See

Jenkins, 744 S.E.2d at 688; Brock, 110 S.E.2d at 126.


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            2.     Plaintiffs Have Not Sufficiently Alleged Injury Or
                   Proximate Causation.
      Under Georgia law, negligence per se “is not liability per se”—a “plaintiff

must still prove proximate cause and actual damage in order to recover.” Hite v.

Anderson, 643 S.E.2d 550, 552 (Ga. Ct. App. 2007) (quotation marks omitted).

Here, Plaintiffs allege that Equifax’s purported negligence per se caused the same

injuries as its alleged negligence. CCC ¶ 354 (cross-referencing to harm alleged

under negligence claim in ¶ 347). But as discussed above, Plaintiffs have failed to

allege sufficient facts demonstrating that they have suffered any cognizable injury

proximately caused by Equifax. See supra Sections I.B.1 & I.B.2. As a result,

their negligence per se claim must also be dismissed.

      E.    Plaintiffs’ Georgia Fair Business Practices Act Claim Must Be
            Dismissed.

            1.     McConnell III Confirms That The Georgia Fair Business
                   Practices Act Does Not Require Safeguarding PII.
      If the Georgia Fair Business Practices Act (“GFBPA”) required a company

to safeguard PII, McConnell III would have been decided differently. The plaintiff

in McConnell argued that the GFBPA imposed a duty to safeguard PII. See

McConnell III, 2018 WL 2173252, at *6. And although the GFBPA was before

the court, McConnell III held that the plaintiff’s complaint was “premised on a

duty of care to safeguard personal information that has no source in Georgia


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statutory law.”   2018 WL 2173252 at *6 (emphasis added).             According to

McConnell III, “[Georgia’s] legislature has so far not acted to establish a standard

of conduct intended to protect the security of personal information.” Id. at *7. If

the general unfair-practices provision of the GFBPA could be read to require

safeguarding PII, the McConnell III court would have said as much—and would

have reached a different result. This alone requires that Count 4 be dismissed.

             2.    Plaintiffs Have Not Pleaded Reliance.
      Stating a claim under the GFBPA requires that the plaintiff “demonstrate

that he was injured as the result of … reliance upon the alleged misrepresentation.”

Tiismann v. Linda Martin Homes Corp., 637 S.E.2d 14, 16–17 (Ga. 2006).

Plaintiffs here have failed to—and cannot—allege facts sufficient to show reliance.

      Most Plaintiffs—and “[n]early all” putative Nationwide Class members—
                                                        11
allege that they did not provide their PII to Equifax.       For example, Plaintiffs

allege that their “Personal Information was conferred on Equifax in most cases by

third[ ]parties,” CCC ¶ 383, that they “had no prior relationship with Equifax,” and

that they could not “opt[ ]out of Equifax’s collection … of … data,” CCC ¶ 4.

11
  Only Contract Plaintiffs allege that they provided any PII directly to Equifax, but
those Plaintiffs have not sufficiently alleged that the PII they sent to Equifax was
compromised in the breach. See CCC ¶¶ 400–01; see also id. ¶ 298 (defining
putative “Contract Subclass” as “natural persons … who … transmitted directly to
Equifax any of their Personal Information.”).

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Under these facts, Plaintiffs cannot establish that they gave Equifax their PII in

reliance on any representations Equifax allegedly made. This failure to plead
                                      12
reliance is fatal to the GFBPA claim.

             3.    No Plaintiff Has Alleged Injuries Caused By Any
                   Misrepresentation.
      Plaintiffs have failed to allege cognizable injuries. See supra Section I.B.1.

Those Plaintiffs who arguably have alleged injuries have failed to allege that

Equifax proximately caused those harms. See supra Section I.B.2. To fall within

the ambit of the GFBPA, a plaintiff must be a “person who suffers injury or

damages as a result of a violation” of the act.            O.C.G.A. § 10-1-399(a).

Accordingly, because no Plaintiff has alleged “injury or damages as a result” of

any violation by Equifax, Count 4 must be dismissed.

             4.    The GFBPA Forbids Class Actions.
      The GFBPA forbids class actions. It provides that a “person who suffers

injury or damages … may bring an action individually, but not in a representative

capacity.” O.C.G.A. § 10-1-399(a); see also In re New Motor Vehicles Canadian

12
  Even if Plaintiffs had given their PII to Equifax, they could not establish reliance
because they have not pleaded that they read and relied on any representation made
by Equifax. See, e.g., Willingham, 2013 WL 440702, at *20 (“[B]road statements
of reliance on defendant’s website and privacy statement do not give rise to
contract claims where, as here, Plaintiffs do not allege that they read and relied
upon those statements.”).


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Exp. Antitrust Litig., 241 F.R.D. 77, 84 (D. Me. 2007) (finding the GFBPA class

action restriction substantive, not procedural, and rejecting class certification),

vacated on other grounds, 522 F.3d 6 (1st Cir. 2008). Equifax therefore contends
                                                                                   13
that this Court should dismiss Plaintiffs’ GFBPA claim as to any putative class.

Equifax further notes that fifteen other state statutes under which Plaintiffs have

asserted claims prohibit or restrict class actions, and those claims should also be
                                        14
dismissed as to any putative classes.

      F.     Plaintiffs’ Unjust Enrichment Claim Must Be Dismissed.

      To state a claim for unjust enrichment—an equitable doctrine of recovery

under Georgia law—a plaintiff must allege that “the plaintiff provide[d] something

of value to the defendant” and did so “with the expectation that the defendant

would be responsible for the cost thereof.” Sitterli v. Csachi, 811 S.E.2d 454, 457

(Ga. Ct. App. 2018) (quotation marks omitted). Put another way, “when one


13
   Equifax acknowledges that this Court is bound by Eleventh Circuit precedent
holding that a similar provision in Alabama’s deceptive trade practices law is
procedural, not substantive, and thus that Rule 23 governs. See Lisk v. Lumber
One Wood Preserving, LLC, 792 F.3d 1331, 1335 (11th Cir. 2015). At a
minimum, however, Lisk presents a conflict in authority that either the en banc
Eleventh Circuit or the Supreme Court could resolve in Equifax’s favor. Compare
id. with Fejzulai v. Sam’s West, Inc., 205 F. Supp. 3d 723, 726–29 (D.S.C. 2016)
(disagreeing with Lisk); In re New Motor Vehicles, 241 F.R.D. at 84.
14
   Each of Counts 10, 14, 31, 37, 41, 43, 51, 54, 57, 72, 76, 81, 86, 89, and 92 is
premised on a state statute that forbids or otherwise limits class actions.

                                             41
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renders service or transfers property which is valuable to another … a promise is

implied to pay the reasonable value thereof.” O.C.G.A. § 9-2-7.

      Here, Plaintiffs allege that “Personal Information was conferred on Equifax

in most cases by third[ ]parties.” CCC ¶ 383. Only the Contract Plaintiffs are

alleged to have given any information to Equifax.         See id. ¶ 298 (describing

putative “Contract Subclass”).

      Thus, all non–Contract Plaintiffs fail to allege that they conferred anything

of value on Equifax. Because these Plaintiffs neither “render[ed] service” nor

“transfer[red] property” to Equifax, O.C.G.A. § 9-2-7, they may not recover for

unjust enrichment, Sitterli, 811 S.E.2d at 457. Likewise, the Contract Plaintiffs

explicitly allege that a contract governed their transactions with Equifax. Contract

Plaintiffs, therefore, cannot plead a claim for unjust enrichment. See Clark v.

Aaron’s, Inc., 914 F. Supp. 2d 1301, 1310 (N.D. Ga. 2012) (“a plaintiff may not

plead an unjust enrichment claim in the alternative to a claim for breach of contract

when it is undisputed (or when the court has found) that a valid contract exists”).

      Regardless, no Plaintiffs—Contract Plaintiffs or otherwise—allege that they

reasonably expected Equifax to “be responsible for the cost” of their PII. The

closest Plaintiffs come is their allegation that “the benefit conferred upon …

Equifax was not conferred … gratuitously.” CCC ¶ 390. But that conclusory


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assertion does not allege that Plaintiffs reasonably expected reimbursement, that

anyone expected reimbursement from Equifax, or that any expected reimbursement

would be for the cost of the PII as opposed to some other measure of value.

Accordingly, the Plaintiffs “ha[ve] no right to an equitable recovery” for unjust

enrichment. See Sitterli, 811 S.E.2d at 457 (quotation marks omitted).

       Finally, Plaintiffs seek, as damages, “the profits Equifax is receiving from

the use and sale of” the PII. But the only damages available for unjust enrichment

amount to the “reasonable value” of the “service” or “property” conferred.

O.C.G.A. § 9-2-7. Plaintiffs cannot maintain an action for some other measure of

damages. Plaintiffs’ unjust enrichment claim must be dismissed.

II.    THE CONTRACT AND FCRA DISCLOSURE CLAIMS MUST BE
       DISMISSED.

       A.    Both Breach Of Contract Claims Must Be Dismissed.
                          15
       Nineteen Plaintiffs     allege that they had a contract with Equifax—either

express or implied in fact—as a result of their purchase of Equifax credit

monitoring or identity protection services, or other transactions with Equifax.

CCC ¶¶ 405, 410. These Contract Plaintiffs allege that the purported contract


15
   The Complaint alleges that “Thomas Cromwell” is a Contract Plaintiff for
purposes of both Counts 7 and 8. CCC ¶¶ 400, 409. Equifax presumes for the
purposes of this motion that the reference to Mr. Cromwell, who is not a named
Plaintiff, is intended to refer to Plaintiff “Thomas Edward Crowell.” Id. ¶ 80.

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consisted of or incorporated language from Equifax’s Privacy Policy, and that

Equifax breached the contract by failing to protect Contract Plaintiff’s PII. Id

¶¶ 401–04 & 410–15. Contract Plaintiffs’ allegations that the company’s Privacy

Policy imposed contractual duties on Equifax are simply insufficient—indeed,

these Plaintiffs’ transactions were governed by express contracts that do not

incorporate the Privacy Policy and contain merger clauses.

            1.     The Privacy Policy Is Not A Contract, And Even If It Were
                   It Does Not Impose The Duty Plaintiffs Assert.
      The breach of contract claims fail for three reasons.       First, Contract

Plaintiffs’ purchases from Equifax were governed by an express contract that does

not incorporate the Privacy Policy. See generally Equifax Terms of Service And

Product Agreement, available at https://bit.ly/2LVxNI0 (“Equifax Product
             16
Agreement”).       The Equifax Product Agreement further provides that it

“constitutes the entire agreement between You and” Equifax. Product Agreement

¶ 39. Because this “merger clause operates as a disclaimer of all representations

not made on the face of the contract,” Ekeledo v. Amporful, 642 S.E.2d 20, 22 (Ga.

16
   Plaintiffs rely on other terms of this agreement in the CCC. E.g., CCC ¶¶ 233,
248. And because this agreement governs Contract Plaintiffs’ claims, the Court
may consider it on a motion to dismiss. See Bradford. v. WR Starkey Mortg., LLP,
No. 2:06-CV-86-WCO, 2006 WL 8436036, at *4 (N.D. Ga. Nov. 17, 2006)
(“incorporation by reference” is “properly used … when the contents of a
document are at issue in the case”).

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2007), Plaintiffs’ allegation that Equifax’s Privacy Policy was incorporated into

any contract they formed with Equifax fails.

      Second, even if that express contract did not govern, Plaintiffs have not

sufficiently alleged that the Privacy Policy is an enforceable contract between

Plaintiffs and Equifax. Plaintiffs bear the burden of pleading all the elements of a

contract. Broughton v. Johnson, 545 S.E.2d 370, 371 (Ga. Ct. App. 2001). To

state a claim for breach of contract, a plaintiff must first “set forth a contract of

such certainty and completeness that either party may have a right of action upon

it.” Weathers v. Dieniahmar Music, LLC, 788 S.E.2d 852, 858 (Ga. Ct. App.

2016).   Formation of a contract requires “mutual assent by all parties to all

contract terms.” Broughton, 545 S.E.2d at 371 (emphasis added).

      Contract Plaintiffs have not sufficiently pleaded that the Privacy Policy is

part of any agreement they have with Equifax (or that it is itself an agreement).

See ¶ 405. A plaintiff may not sue for “breach” of policies extrinsic to a contract

unless the defendant assented to incorporating those policies into the contract.

E.g., Wilson v. Clark Atlanta Univ., Inc., 794 S.E.2d 422, 432 (Ga. Ct. App. 2016)

(argument that handbook was incorporated into contract by reference failed

because contract “does not make it reasonably clear that all provisions … are

incorporated … thereby creating mutual obligations on” both parties).


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      Here, while Contract Plaintiffs allege that they “formed a contract” or

“entered into an implied contract” with Equifax, CCC ¶¶ 405, 410, 412 (emphasis

added), they nowhere explain whether or how the Privacy Policy provisions on

which they rely became part of that contract. Id. Contract Plaintiffs certainly do

not identify any specific contractual language—or append to their complaint any

contract—making the Privacy Policy binding as between the parties. Plaintiffs

have, therefore, failed to plead the existence of the contractual duty they rely on.

See Broughton, 545 S.E.2d at 371; see also In re Anthem, Inc. Data Breach Litig.,

162 F. Supp. 3d 953, 980–81 (N.D. Cal. 2016) (dismissing breach of contract claim

where plaintiffs failed to allege that the privacy notices at issue had been

incorporated into a valid contract); Dyer v. Nw. Airlines Corps., 334 F. Supp. 2d

1196, 1200 (D.N.D. 2004) (“[B]road statements of company policy do not

generally give rise to contract claims. As such, the alleged violation of the privacy

policy at issue does not give rise to a contract claim.”); In re Nw. Airlines Privacy

Litig., No. Civ. 04-126(PAM/JSM), 2004 WL 1278459, at *5–6 (D. Minn. June 6,

2004) (finding no contract where plaintiffs alleged they relied on privacy policy on

defendant’s website).

      Third, even if Plaintiffs could show that the Privacy Policy governed, they

cannot show that it imposed a contractual duty to safeguard information. All


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versions of Equifax’s Privacy Policy provide that Equifax may, at any time,

unilaterally alter the policy. For example, the version of the Privacy Policy quoted

by Plaintiffs, effective as of 2006, provides that Equifax “may change [its] privacy

policy in the future” and that it “may notify you of changes in [its] privacy policy

through this web site.” See Privacy Policy, https://bit.ly/2J5rXSg (revised October

5, 2006). Equifax’s most recent Privacy Policy, therefore, applies. It became

effective April 24, 2017, and thus was in effect during the entire period of the data

breach. Privacy Policy—Equifax Personal Products, https://bit.ly/2xvDU2o.

      That superseding Privacy Policy does not impose the contractual duty

Plaintiffs allege. To the contrary, in a paragraph prominently and conspicuously

titled “EFFORTS WE MAKE TO SAFEGUARD YOUR PERSONAL

INFORMATION,” it provides:

      We are committed to protecting the security of your personal
      information and use technical, administrative[,] and physical security
      measures that comply with applicable federal and state laws.
      However, no data transmission or storage can be guaranteed to be
      100% secure. As a result, while we strive to protect the personal
      information we maintain, we cannot ensure or warrant the security
      of any information you transmit to us.

Privacy Policy—Equifax Personal Products (emphasis added).            Thus, even if

Plaintiffs had sufficiently alleged that the Privacy Policy imposed contractual

obligations on Equifax (and they have not), at all times relevant to Contract



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Plaintiffs’ claims, the Privacy Policy expressly stated that Equifax could not

“ensure or warrant the security of any information you transmit to us.”          Id.

Because Equifax made clear that it was not taking on an enforceable duty to

safeguard PII, Contract Plaintiffs’ breach claim must be dismissed.

            2.     Plaintiffs Do Not Properly Allege Breach Of An Implied
                   Contract.
      Plaintiffs’ alternative theory of breach of an implied contract is equally

unavailing. The existence of an express contract with a merger clause governing

Contract Plaintiffs’ transactions with Equifax means that any “implied contract

cannot exist.” In re VTech Data Breach Litig., No. 15-CV-10889, 2018 WL

1863953, at *3 (N.D. Ill. Apr. 18, 2018); see also Ekeledo, 642 S.E.2d at 22.

      Nor would Plaintiffs’ theory hold up even absent that express contract.

Under a theory of “implied contract,” Georgia courts require that that “the minds

of the parties shall meet and accord at the same time, upon the same subject matter,

and in the same sense.” Donaldson v. Olympic Health Spa, Inc., 333 S.E.2d 98,

100 (Ga. Ct. App. 1985); see also Grange Mut. Cas. Co. v. Woodard, 797 S.E.2d

814, 853 (Ga. 2017) (“[A]n implied contract only differs from an express contract

in the mode of proof; both equally proceed upon the mutual agreement of the

parties, and cannot exist without it.”) (quotation marks omitted).          That is

particularly true in cases like this one, where Plaintiffs are alleging that Equifax

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breached an implied duty to “safeguard” Plaintiffs’ PII from third-party criminals:

“In the absence of a plain and explicit expression of willingness to protect another

from the criminal acts of third parties, Georgia courts have refused to imply such a

contractual obligation.” Burnett v. Stagner Hotel Courts, Inc., 821 F. Supp. 678,

682 (N.D. Ga. 1993), aff’d, 42 F.3d 645 (11th Cir. 1994).

      The Complaint describes only the following implied contract:

      Plaintiffs and Class members entered into an implied contract with
      Equifax when they obtained credit monitoring or identity theft
      protection services from Equifax, or otherwise provided Personal
      Information to Equifax subject to its Privacy Policy (through
      obtaining disclosures of their credit files, disputing items in their
      credit files, or taking action associated with a fraud alert, active duty
      alert, or security freeze or lock on their credit files).

CCC ¶ 410. Plaintiffs then allege, in entirely conclusory fashion, that “Equifax

agreed to safeguard and protect the Personal Information of Plaintiffs and Class

Members and to timely and accurately notify them if their Personal Information

was breached or compromised.” Id. ¶ 411. This is nothing more than a legal

conclusion couched as fact. Absent from these allegations is any description of

when these agreements were made, how Equifax manifested its assent to the terms,

what individuals had a “meeting of the minds,” or any other allegations that would

demonstrate the existence of an implied contract between Equifax and any of the

Plaintiffs. Under these circumstances, Count 8 must be dismissed.



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             3.    Plaintiffs Identify No Contractual Duty To “Promptly Alert
                   Or Give Notice Of [A] Breach.”
      Although the CCC alleges that Equifax “breached its agreement with

[Contract] Plaintiffs” by “fail[ing] to promptly alert or give notice of the breach,”

CCC ¶ 407, they have alleged no contract term that suggests Equifax made such a

promise, see id. ¶¶ 402–04. Therefore, that claim must be dismissed.

      B.     The FCRA Disclosure Plaintiffs’ Claims Must Be Dismissed
      Plaintiffs Cho and Lee assert, on behalf of a putative “FCRA Disclosure

Subclass,” that Equifax violated 15 U.S.C. § 1681g(a) by failing to “clearly and

accurately disclose” information about the data breach on consumer-credit-file

disclosures issued since the breach. See CCC ¶ 419. Section 1681g(a) requires

CRAs, upon request, to “clearly and accurately disclose to the consumer” “[a]ll

information in the consumer’s file at the time of the request,” including the

“[i]dentification of each person … that procured a consumer report.” 15 U.S.C.

§ 1681g(a). An “identification of a person” who procures a consumer report must

include “the name of the person … ; and [ ] upon request of the consumer, the

address and telephone number of the person.” Id. § 1681g(a)(3)(B).

      As a threshold matter, Plaintiffs fail to plead facts showing that the theft of

their PII was reflected in their “consumer[] file[s]” within the meaning of sections

1681a and 1681g. Thus, they cannot state a claim under § 1681g.


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      Independently, Plaintiffs’ § 1681g claim fails because (1) the hackers did not

“procure a consumer report,” and thus did not trigger § 1681g’s requirement that a

consumer disclosure identify them; and (2) § 1681g cannot reasonably be read to

apply in the context of a data breach.

      First, for the same reasons discussed above, Plaintiffs’ allegations show that

the hackers did not access any “consumer report.” That, alone, is fatal to the

§ 1681g claim—as it was fatal to Plaintiffs’ claims under §§ 1681b and 1681e. See

supra Section I.A; Miller v. Experian Info. Sols. Inc., No. 3:13-cv-090, 2015 WL

728342, at *4‒5, *8–9 (S.D. Ohio Feb. 19, 2015) (holding there is no violation of

§ 1681g unless a CRA issues a consumer report), aff’d sub nom. Miller v. Trans

Union, LLC, 644 F. App’x 444 (6th Cir. 2016).

      Second, a data breach does not trigger a CRA’s § 1681g disclosure

obligations. Section 1681g requires a CRA “upon request [to] … clearly and

adequately disclose to the consumer … [i]dentification of each person … that

procured a consumer report … for any [ ] purpose, during the one-year period

preceding the date on which the request is made.” 15 U.S.C. § 1681g(a)(3)(A).

“[I]dentification of a person,” in turn, requires disclosing the person’s “name,”

“trade name,” “address,” and “telephone number.” Id.; § 1681g(a)(3)(B).

      Section 1681g(a)(3) clearly contemplates a third party—e.g., a bank or


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employer—obtaining a “consumer report” in the ordinary course of business. But

it would be absurd to apply the provision where a CRA’s information systems were

hacked in a data breach. If a data breach occurs, a CRA generally has no way of

knowing—and thus cannot “clearly and accurately disclose”—the “name,” “trade

name,” “address,” and “telephone number” of the criminal hackers who infiltrated

its systems. Id. Congress could not have intended the statute to compel CRAs to

disclose information they have no way of knowing.17              Because the FCRA

Disclosure Plaintiffs’ claim rests on an unreasonable interpretation of the statute,

Count 9 must be dismissed. See, e.g., Clinton v. City of New York, 524 U.S. 417,

429 (1998) (rejecting reading of a statute that “‘would produce an absurd and

unjust result which Congress could not have intended’”); Pub. Citizen v. U.S.

Dep’t of Justice, 491 U.S. 440, 454‒55 (1989) (same).

III.    EACH PLAINTIFF’S CLAIMS UNDER HIS OR HER LOCAL STATE
        STATUTES MUST BE DISMISSED.
        Plaintiffs have raised a host of claims under state statutes, both individually


17
   In their Complaint, Plaintiffs suggest that Equifax could “identify … in general
terms[] the person who procured” their PII. CCC ¶ 420. But § 1681g(a)(3)(A)
requires CRAs to disclose details about anyone who accesses credit reports and
does not contemplate that these details could ever be unknown. That Plaintiffs
apparently concede that fully complying with § 1681g(a)(3)(A) is impossible in the
context of a data breach is all the more reason to conclude that their reading of the
statute is wrong.


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and on behalf of putative Statewide Subclasses.         These claims too must be

dismissed. First, Plaintiffs seek to impermissibly apply foreign states’ deceptive-

trade-practices laws to conduct that undisputedly took place entirely in Georgia.

Second, Plaintiffs fail to meet the requirements of those statutes—they have

variously failed to sufficiently plead fraud, scienter, reliance, injury, or the

existence of a requisite consumer transaction; or they seek money damages under

statutes affording only nonmonetary relief. Third, Plaintiffs have brought several

counts under data-breach-notification statutes that provide no private cause of

action; have failed to (and cannot) sufficiently allege that Equifax violated any

data-breach-notification statutes; and have failed to allege that any Plaintiff was

injured by any delay in notification. And, fourth, Plaintiffs have asserted claims

under certain statutes without alleging that any Plaintiff has any connection with

the jurisdictions in question. Accordingly, all of Plaintiffs’ state statutory claims

must be dismissed.

      A.     Plaintiffs’ Claims Under State Business Fraud And Consumer
             Protection Statutes Must Be Dismissed.

             1.      Foreign States’ Deceptive-Trade-Practices Laws Cannot
                     Govern Conduct That Took Place In Georgia.

      By alleging claims under the deceptive-trade-practices laws of 49 other

jurisdictions, Plaintiffs seek to impose foreign state statutes to govern conduct that



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they allege occurred entirely in Georgia.               See, e.g., CCC ¶ 311 (“Equifax’s

breaches of duty … emanated from Georgia.”). Those statutes, however, cannot be

applied extraterritorially. As a matter of state law, state legislatures have no power
                                                   19
to regulate conduct occurring in another state.

      Nor could states constitutionally reach out to govern conduct occurring

elsewhere. See, e.g., State Farm v. Campbell, 538 U.S. 408, 421 (2003). Under

18
    To the extent this Court concludes that foreign State statutes do govern
Equifax’s Georgia conduct, Equifax reserves the right to argue that these widely
varying statutes preclude class certification under Rule 23.
19
   E.g., N.Y. Gen. Bus. Law § 349 (declaring unlawful “[d]eceptive acts or
practices” only “in this state”); Ward v. United Airlines, 889 F.3d 1068, 1073 (9th
Cir. 2018) (under California law, “the statutes of a state have no force beyond its
boundaries” and “if the liability-creating conduct occurs outside of California,
California law generally should not govern that conduct”) (quotation marks
omitted); Flatirons Bank v. Alan W. Steinberg Ltd. P’ship, 233 So. 3d 1207, 1211
(Fla. 3d DCA 2017) (similar); Wis. Indus. Energy Grp., Inc. v. Pub. Serv. Comm’n,
819 N.W.2d 240, 252–53 (Wis. 2012) (“[W]e cannot ignore the State of
Wisconsin’s lack of authority to regulate a person’s activities in another state ….
[T]he laws of a state have no extraterritorial effect.”) (quotation marks and
alteration omitted); Sawyer v. Market Am., Inc., 661 S.E.2d 750, 754 (N.C. Ct.
App. 2008) (“the Legislature has no power to enact statutes … that can extend in
their operation and effect beyond the territory of the sovereignty from which the
statute emanates”); Planned Parenthood v. Nixon, 220 S.W.3d 732, 742 (Mo.
2007) (en banc) (Missouri’s “laws do not have extraterritorial effect”); Campbell v.
Albers, 39 N.E.2d 672, 676 (Ill. App. Ct. 1942) (“laws are without force beyond
the jurisdiction of the state which enacted them”); W. Union Tel. Co. v. Epley, 218
S.W. 528, 529 (Tex. Civ. App. 1920) (“The statutes of a state have no effect
beyond its own limits; and, if the act or omission complained of be not actionable
by the law of the state where it was committed, no action can properly be brought
on it in another state, although by the laws of the latter the act or omission would
have been actionable if committed within its jurisdiction.”).

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the Dormant Commerce Clause, “a statute that directly controls commerce

occurring wholly outside the boundaries of a State exceeds the inherent limits of

the enacting State’s authority and is invalid.” Healy v. Beer Inst., 491 U.S. 324,

336 (1989); see BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 571–74 (1996). That

is true “whether or not the commerce has effects within the State.” Healy, 491

U.S. at 336. And under the Full Faith and Credit Clause, “[n]o State can legislate

except with reference to its own jurisdiction.” Bonaparte v. Tax Ct., 104 U.S. 592,

594 (1881); see also Sun Oil Co. v. Wortman, 486 U.S. 717, 722 (1988).

      Unlike in data-breach cases arising from the theft of data acquired in

commercial transactions, 80% of Plaintiffs and “[n]early all” putative Nationwide

Class members “had no … relationship with Equifax.” CCC ¶ 4. Equifax stored

data on computers located in Georgia and serviced by Georgia employees. See

CCC ¶¶ 308-13. Plaintiffs allege that Equifax and its agents undertook or omitted

acts wholly in this State. CCC ¶ 311; see also id. ¶¶ 109–111 (alleging that all

defendant Equifax entities are Georgia companies, with their principal places of

business and registered agents in Georgia); id. ¶¶ 189–90. The CCC is devoid of

any specific allegations of Equifax conduct outside Georgia. Moreover, if any

harmful effect was felt in any other state, that effect was the direct and proximate

result of an unknown third party’s criminal act—not Equifax.


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      Laws from other states cannot be applied to “directly control[] commerce

occurring wholly” within Georgia, and thus “wholly outside the boundaries” of the

states that enacted them. See Healy, 491 U.S. at 336. They certainly cannot be

applied to punish acts over which the state lacks any territorial jurisdiction. See

Campbell, 538 U.S. at 421. Because Plaintiffs seek to impose foreign states’

statutes on conduct that occurred in this State, their foreign-state deceptive-trade-
                    20
practices-act claims must be dismissed in their entirety.

             2.    Plaintiffs Have Failed To Plead Fraud With Particularity.

      Allegations of deceptive trade practices are subject to the heightened

pleading standards for fraud. E.g., Stires v. Carnival Corp., 243 F. Supp. 2d 1313,

1322 (M.D. Fla. 2002) (“Most courts construing claims alleging violations of the

Federal Deceptive Trade Practices Act or its state counterparts have required the

heightened pleading standard requirements of Rule 9(b).”) (collecting cases); see

also Crespo v. Coldwell Banker Mortg., 599 F. App’x 868, 873 (11th Cir. 2014)

(unpublished) (applying 9(b) standard when evaluating a claim alleging defendant

engaged in “deceptive trade practices”); Hines v. MidFirst Bank, No. 1:12-CV-

2527-TWT, 2013 WL 609401, at *6–*7 (N.D. Ga. Jan. 8, 2013) (Rpt. & Rec.),

20
  Counts 10, 12–14, 16, 17, 19, 22, 24, 25, 27, 29–31, 33–35, 37, 39, 41, 43–45,
48, 49, 51–55, 57–60, 62, 64, 65, 67, 69, 71–74, 76, 77, 79, 81, 82, 84–87, 89, 90,
92, 94, 95, and 97.

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adopted 2013 WL 603883 (N.D. Ga. Feb. 19, 2013) (same). Indeed, Plaintiffs

have alleged claims under numerous state laws that courts have explicitly held are

subject to the heightened pleading requirements for fraud.        See Ex. 2 (chart

summarizing    arguments    on    state    deceptive-trade-practices   act   counts).

Additionally, all of Plaintiffs’ state deceptive-trade-practices act counts rely on

theories of misrepresentation and omission, and therefore sound in fraud.

Accordingly, Plaintiffs’ pleading must comply with Fed. R. Civ. P. 9(b).

      While Plaintiffs’ claims are premised on allegations of misleading omissions

and affirmative misrepresentations, Plaintiffs fail to meet the requisite pleading

standard.   Plaintiffs must plead “(1) the precise statements, documents, or

misrepresentations made; (2) the time, place, and person responsible for the

statement; (3) the content and manner in which these statements misled the

Plaintiffs; and (4) what the defendants gained by the alleged fraud.” Am. Dental

Ass’n v. Cigna Corp., 605 F.3d 1283, 1291 (11th Cir. 2010) (quotation marks

omitted). They have failed to do so. All Plaintiffs allege is, for example, that

Equifax “[m]isrepresented that it would protect the privacy and confidentiality of

Plaintiff and [Statewide] Subclass members’ Personal Information, including by

implementing and maintaining reasonable security measures” or that it would

“comply with common law and statutory duties pertaining to the security and


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privacy” of that information. E.g., CCC ¶ 958(d)–(e). These allegations do not

even quote statements—much less identify who made them, or when or where they

were made. They are insufficient as a matter of law. Fed. R. Civ. P. 9(b); Am.

Dental Ass’n, 605 F.3d at 1291.

      Additionally, Plaintiffs have failed to allege, in any of these counts facts

showing that they relied on any alleged misrepresentation or omission, or that any

alleged misrepresentation or omission caused any injury. See, e.g., In re Sony

Gaming Networks & Customer Data Breach Litig., 903 F. Supp. 2d 942, 969 (S.D.

Cal. 2012) (dismissing state consumer-protection claims for failure to plead

reliance). As noted above, Plaintiffs have not alleged (and could not allege) that

they gave their PII to Equifax due to any representation made by Equifax. They

have, to the contrary, alleged that they did not give their PII to Equifax at all.

Plaintiffs thus cannot recover for consumer fraud. E.g., De Bouse v. Bayer AG,

922 N.E.2d 309, 316 (Ill. 2009) (requiring that plaintiff show actual deception and

reliance); Rodi v. S. New England School of Law, 532 F.3d 11, 16–17 (1st Cir.

2008) (reliance required and must be reasonable); Next Century Commc’ns Corp.

v. Ellis, 318 F.3d 1023, 1026–27 (11th Cir. 2003) (noting that reliance is “an

indispensable element” of fraud and affirming judgment based on failure “to plead

facts constituting justifiable reliance).


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                                                                               21
      Accordingly, all of Plaintiffs’ state deceptive-trade-practices claims        must

be dismissed. At a minimum, those counts for which courts have held heightened

pleading standards are required (Counts 13, 16, 24, 35, 39, 48, 51, 52, 53, 55, 60,

64, 74, 84, and 92) must be dismissed. See Ex. 2.

             3.    Plaintiffs Have Failed To Sufficiently Allege Scienter.

      Plaintiffs repeatedly assert that Equifax “intended to mislead” Plaintiffs and
                                                                                       22
that it “acted intentionally, knowingly, and maliciously” to violate state statutes.

But the complaint is devoid of any facts suggesting that Equifax intentionally

violated any statute or intended to mislead Plaintiffs. Iqbal, 556 U.S. at 678.

Instead, Plaintiffs have pleaded bald “labels and conclusions,” see id., hoping to

transmute them through repetition into fact. They cannot. Because Plaintiffs have


21
   Counts 10, 12–14, 16, 17, 19, 22, 24, 25, 27, 29–31, 33–35, 37, 39, 41, 43–45,
48, 49, 51–55, 57–60, 62, 64, 65, 67, 69, 71–74, 76, 77, 79, 81, 82, 84–87, 89, 90,
92, 94, 95, and 97.
22
   CCC ¶¶ 373 (Count 4); 438 (Count 10); 459 (Count 12); 469 (Count 13); 483
(Count 14); 503 (Count 16); 532 (Count 19); 558 (Count 22); 581 (Count 24); 607
(Count 27); 629 (Count 29); 648 (Count 31); 667 (Count 33); 694 (Count 35); 717
(Count 37); 742 (Count 39); 761 (Count 41); 781 (Count 43); 838 (Count 48); 851
(Count 49); 869 (Count 51); 888 (Count 53); 901 (Count 54); 912 (Count 55); 932
(Count 57); 951 (Count 59); 961 (Count 60); 978 (Count 62); 996 (Count 64);
1007 (Count 65); 1021 (Count 67); 1042 (Count 69); 1063 (Count 71); 1075
(Count 72); 1086 (Count 73); 1098 (Count 74); 1123 (Count 76); 1134 (Count 77);
1153 (Count 79); 1180 (Count 81); 1218 (Count 84); 1235 (Count 85); 1269
(Count 87); 1294 (Count 89); 1308 (Count 90); 1331 (Count 92); 1348 (Count 94);
1370 (Count 95); 1392 (Count 97).

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failed to sufficiently plead scienter, Counts 4, 10, 12, 13, 14, 16, 19, 22, 24, 27, 29,

31, 33, 35, 37, 39, 41, 43, 48, 49, 51, 53–55, 57, 59, 60, 62, 64, 65, 67, 69, 71, 72,

73, 74, 76, 77, 79, 81, 84, 85, 87, 89, 90, 92, 94, 95, and 97 must be dismissed.

             4.     Plaintiffs’ Allegations Of Injury Are Insufficiently Specific
                    Or Substantial To Survive Dismissal.
      As discussed above in Sections I.B.1 and I.B.2, Plaintiffs have generally

failed to allege any cognizable injury proximately caused by any act or omission of

Equifax.23 A few Plaintiffs have alleged that they spent money after the data

breach in an attempt to mitigate future losses. But as noted, “[t]he majority of

courts in data breach cases have held that the cost to mitigate the risk of future

harm does not constitute an injury … unless the future harm being mitigated

against is itself imminent.” Wendy’s, 195 F. Supp. 3d at 1284 (quotation marks

omitted); see also In re SuperValu, 870 F.3d at 771.

      Numerous state statutes under which Plaintiffs have asserted claims require

not only injury, but an injury that is both ascertainable and monetary. See Ex. 2.

And all of them require Plaintiffs to allege a cognizable injury of some sort. See

id.; see also Sony, 903 F. Supp. 2d at 966 (dismissing consumer-protection claims
23
   Although Plaintiffs Acklin-Davis and Packwood have attempted to plead
ascertainable monetary injuries, see CCC ¶¶ 50 (alleging increase in insurance
policy premiums) & 63 (alleging “thousands of dollars ... fraudulently withdrawn”
from bank accounts and not reimbursed), they have not sufficiently alleged that
any losses they suffered were proximately caused by the Equifax data breach.

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because “heightened risk of identity theft, time and money spent on mitigation of

that risk, and property value in one’s information, do not suffice as injury”).
                                                                                      24
      Accordingly, all of Plaintiffs’ state deceptive-trade-practices-act claims

must be dismissed.

             5.      Plaintiffs’ Claims Under Statutes Requiring Consumer
                     Transactions Must Be Dismissed.
      Plaintiffs allege claims under the deceptive-trade-practices statutes of

numerous states when those statutes may be enforced only in connection with a

transaction involving the sale or advertisement of consumer goods. See Ex. 2; see

also Experian, 2016 WL 7973595, at *8 (dismissing state-law claim where

plaintiffs did not allege connection with consumer transaction).

      But the non-Contract Plaintiffs do not allege they participated in any

commercial transaction with Equifax. To the contrary, their Complaint alleges that

they have no legal relationship with Equifax. See, e.g., CCC ¶¶ 4 (“Nearly all of

the [affected consumers] had no prior relationship with Equifax”); 127 (alleging

that “consumers have little or no control over the information” Equifax stored); cf.

id. ¶ 298 (defining putative “Contract Subclass” as consumers who bought or



24
  Counts 10, 12–14, 16, 17, 19, 22, 24, 25, 27, 29–31, 33–35, 37, 39, 41, 43–45,
48, 49, 51–55, 57–60, 62, 64, 65, 67, 69, 71–74, 76, 77, 79, 81, 82, 84–87, 89, 90,
92, 94, 95, and 97.

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“received for consideration” Equifax services, or who otherwise gave PII directly

to Equifax). Nor do Plaintiffs allege injury from any Equifax advertisement.

      Because non–Contract Plaintiffs have failed to allege that they are

“consumers” who engaged in any transactions with Equifax—or relied on

Equifax’s advertising for goods or services—Counts 13, 24, 25, 35, 52, 55, 71, 77,

and 85 must be dismissed as to all non–Contract Plaintiffs and all putative class

members who are not members of the putative Contract Subclass. Those claims

should also be dismissed as to all Contract Plaintiffs because they fail to plead that

the damages they seek have any relation to their transaction with Equifax.

      Additionally, the CCC asserts numerous counts under state statutes that

require consumer transactions without alleging that any Contract Plaintiff resides

in the state. Counts 17, 22, 29, 31, 37, 39, 41, 54, 72, 79, 82, 86, 87, 92, 95, and 97

must be dismissed because no Plaintiff in the state has alleged any transaction

bringing them within the reach of the relevant statutes. See CCC ¶ 400 (listing

Contract Plaintiffs); id. ¶ 304 (“As to each ... Subclass, Plaintiffs’ claims are

typical of other Class members’ claims because Plaintiffs and Class Members were

subjected to the same allegedly unlawful conduct and damaged in the same way.”).

             6.     Plaintiffs Allege No Facts Sufficient To Establish A Duty To
                    Disclose.
      Plaintiffs repeatedly assert that Equifax “omitt[ed] … the material fact[s]

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that it did not reasonably or adequately secure … Personal Information” and that it

“did not comply with common law and statutory duties pertaining to the security

and privacy of … Personal Information.” E.g., CCC ¶ 465(f)–(g) (Count 13);

¶ 500(f)–(g) (Count 16). But an omission is not actionable under seventeen of the

consumer-fraud laws Plaintiffs cite unless the defendant had a duty to disclose the

allegedly omitted information. See Ex. 2. As a general matter, “no duty to

disclose exists when parties are engaged in arm’s-length business negotiations; in

fact, an arm’s-length relationship by its nature excludes a confidential

relationship.” Infrasource, Inc. v. Hahn Yalena Corp., 613 S.E.2d 144, 146 (Ga.

Ct. App. 2005). Most Plaintiffs do not allege even an arm’s-length relationship,

see CCC ¶ 4; certainly no Plaintiff alleges more. This Court should accordingly

dismiss Counts 13, 16, 17, 22, 29, 31, 39, 43, 48, 51, 52, 55, 60, 65, 74, 85, and 94.

             7.      Plaintiffs’ Claims for Damages Under Statutes Providing
                     Only Equitable Relief Must Be Dismissed.
      Plaintiffs seek money damages under four state statutes that permit only

injunctive relief.   CCC ¶¶ 658 (Illinois); 805 (Maine); 890 (Minnesota); 954

(Nebraska); 815 Ill. Comp. Stat. § 510/3; 10 Me. Rev. Stat. § 1213; Minn. Stat

§ 325D.45(1); Neb. Rev. Stat. § 87-303; see also Reinbrecht v. Walgreen Co., 742

N.W.2d 243, 247 (Neb. Ct. App. 2007). Accordingly, the damages claims in

Counts 32, 45, 53, and 59 must be dismissed.

                                         63
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              8.    Plaintiffs’ Claims Under Statutes Providing No Relevant
                    Private Right Of Action Must Be Dismissed.
      Only the Massachusetts Attorney General may bring an action for a data-

security breach under the Massachusetts Consumer Protection Act. Mass. Gen.

Laws 93A § 4 & 93H § 6; Katz v. Pershing, 806 F. Supp. 2d 452, 458 (D. Mass.
      25
2011).     Similarly, the Nevada Deceptive Trade Practices Act permits actions only

by the district attorney and by elderly persons. N.R.S. §§ 598.0983–0989; id.

§ 598.0977. Because neither Nevada plaintiff has alleged that she is an elderly

person within the meaning of this statute, N.R.S. § 598.0933, neither may maintain

a civil action. Counts 49 and 60 must be dismissed.

              9.    Plaintiffs’ Claim Under The Georgia Uniform Deceptive
                    Trade Practices Act Fails Because It Relies On A Duty
                    Rejected In McConnell III.
      Plaintiffs allege that Equifax “fail[ed] to comply with common law and

statutory duties pertaining to the security and privacy of Plaintiff and Georgia

Subclass members” PII. CCC ¶ 603(c); see generally Count 27. But as discussed

above, the Georgia Court of Appeals found no “duty of care to safeguard personal

information … in Georgia statutory law or caselaw” in McConnell III. 2018 WL

2173252, at *6. Count 27 must be dismissed.


25
  The Massachusetts Attorney General has done so. See Commw. of Mass. v.
Equifax, Inc., No. 1784-cv-3009 (Mass. Super. Ct., Suffolk Cty.).

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      B.     Plaintiffs’ Claims Under Data-Breach-Notification Statutes Must
             Be Dismissed.
      Plaintiffs assert numerous claims under various state data-breach-

notification laws. Many of those claims fail because the statutes forbid private

actions. And even where there is a private right of action, Plaintiffs have failed to
                                                                                     26
sufficiently allege a violation of the statute or that any violation injured them.

             1.     Plaintiffs Have Alleged Claims Under Statutes That Do Not
                    Provide A Private Right Of Action.
      Twelve of the data-breach statutes under which Plaintiffs sue do not permit
                             27
suits by private plaintiffs.      And the Georgia data-breach statute is silent on

whether a private right of action exists, which means that this Court may not create

one. State Farm Mut. Auto Ins. Co. v. Hernandez Auto Painting & Body Works,

Inc., 719 S.E.2d 597, 601 (Ga. Ct. App. 2011) (“The absence of language …
26
   Plaintiffs also generally allege as part of their negligence claim that they were
injured by Equifax’s alleged failure to promptly notify them of the breach. See,
e.g., CCC ¶ 343. For the same reasons their statutory claims fail, their attempt to
import the duty from those statutes into their negligence claim fails as well.
27
   Colo. Rev. Stat. § 6-1-716; C.G.S.A. § 36a-701b(g); 6 Del. Code Ann. 12b-104;
Iowa Code § 715C.2(9)(a); Kan. Stat. Ann. § 50-7a02(g); Md. Comm. Code § 14-
3402; Mich. Comp. Laws Ann. § 445.72(13); Mont. Code Ann. § 30-14-1705; N.J.
Stat. § 56:8-163; N.Y. Gen. Bus. Law § 899-aa(6)(a); Wis. Stat. § 134.98(4); Wyo.
Stat. Ann. § 40-12-502(f); Torres v. Wendy’s Int’l LLC, No. 6:16-cv-210-Orl-
40DCI, 2017 WL 8780453, at *6 (M.D. Fla. Mar. 21, 2017); Carmax Auto
Superstores, Inc. v. Sibley, 194 F. Supp. 3d 392, 402 (D. Md. 2016) (“The
[Maryland Social Security Number Privacy] Act does not provide a private right of
action to a person allegedly aggrieved by” its violation).


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creating a private right of action [in a statute] strongly indicates the legislature’s

intention that no such cause of action be created by said statute.”). Accordingly,

Plaintiffs—as private citizens—may not maintain a cause of action for violation of

those statutes. Counts 18, 20, 21, 26, 36, 38, 47, 50, 56, 66, 96, and 98 must be

dismissed.

             2.    Plaintiffs Have Failed To Allege A Violation Of Any State
                   Data Breach Statute.

      Plaintiffs allege that this particular data breach was “massive” and that it

involved millions upon millions of records. CCC ¶¶ 192, 223. They concede that

Equifax acted promptly to launch and pursue an investigation of the breach. Id.

¶¶ 196–97. They further concede that Equifax notified federal law enforcement

within days of discovering the breach. Id. ¶ 201. And they acknowledge that the

investigation—understandably, given the number of records stolen—took “several

weeks” to complete. Id. ¶ 202. Plaintiffs further concede that Equifax “established

a notification and remediation plan,” as the scope of the data breach became

clearer, “setting up a website …, developing a suite of protective tools for

consumers, and staffing call centers.”     Id. ¶ 209.   Due to its diligent efforts,

Equifax was able to compile a reasonably complete list of affected consumers on

September 4, 2017. Id. ¶ 212. Promptly thereafter, on September 7, 2017, Equifax

issued a nationwide press release and notified state regulators and additional

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federal government entities. See id. ¶ 227. The total elapsed time from discovery

of the breach to that press release—during which Equifax determined which

systems and databases were affected, and compiled and checked a list of more than

140 million affected consumers—was 41 days.

      The data-breach-notification statutes relied on by Plaintiffs permit an entity

that has suffered a breach to determine the scope of the breach before notifying

consumers. E.g., Cal. Civ. Code § 1798.82(a) (delay permitted when “consistent

with … any measures necessary to determine the scope of the breach”); N.Y. Gen.

Bus. Law § 899-aa(2) (same). Moreover, several of the statutes Plaintiffs cite

establish specific time limits for notification.     C.G.S.A. § 36a-701b(b)(1) (90

days); 6 Del. Code Ann. § 12B-102(c) (60 days); Md. Comm. Code § 14-

3504(c)(2) (45 days); Tenn. Code Ann. § 47-18-2107(b) (45 days); Wash. Rev.

Code § 19.255.010(16) (45 days); Wis. Stat. § 134.98(3) (45 days). By issuing

nationwide notification 41 days after discovering the breach, Equifax acted

reasonably and complied with every one of these statutes.

      Plaintiffs’ own allegations establish that Equifax issued timely notice and

that it violated no express provision of any statute Plaintiffs cite. Counts 11, 15,

18, 20, 21, 23, 26, 28, 32, 36, 38, 40, 42, 46, 50, 56, 61, 63, 66, 68, 70, 75, 78, 80,

83, 88, 91, 93, 96, and 98 should therefore be dismissed.


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             3.    Plaintiffs Have Failed To Allege A Violation Of The
                   Maryland Social Security Number Privacy Act.
      Plaintiffs also assert a violation of Maryland’s Social Security Number

Privacy Act. Count 47. Plaintiffs have pleaded no facts alleging that Equifax

“initiated the transmission” of any “individual’s Social Security number over the

internet.” See Md. Comm. Code § 14-3402(a)(4) (emphasis added). Instead, they

allege that “hackers stole” PII and did so without Equifax’s knowledge or consent.

CCC ¶ 2 (“hackers stole” PII and “Equifax failed to detect the hackers’ presence”).

The Maryland statute imposes no duty to “monitor [a computer] service or

affirmatively seek evidence of the transmission of Social Security numbers on [a

computer] service.” Id. § 14-3402(c). Count 47 should be dismissed.

             4.    Plaintiffs Have Failed To Allege Any Injury Resulting From
                   Any Delay In Notification.
      Even if Plaintiffs had sufficiently alleged a colorable claim under any state

data-breach statute, no Plaintiff has pleaded facts sufficient to show that he or she

suffered injury as a result of any delay in notification, as required. See, e.g., Cal.

Civ. Code § 1798.84(b); see supra Sections I.B.1 & I.B.2. No Plaintiff has alleged

when any injury occurred, and so has not alleged any damage occurring

specifically during the period between when (i) Plaintiffs say Equifax should have

given notice of the data breach and (ii) when Equifax did disclose the data breach.



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Counts 11, 15, 18, 20, 21, 23, 26, 28, 32, 36, 38, 40, 42, 46, 47, 50, 56, 61, 63, 66,

68, 70, 75, 78, 80, 83, 88, 91, 93, 96, and 98 must therefore be dismissed.

      C.        Plaintiffs Cannot Maintain Claims For Nonexistent Plaintiffs.

      Plaintiffs assert several claims under the laws of Puerto Rico and the Virgin

Islands. CCC ¶¶ 1137–44, 1273–1311 (Counts 78 & 88–90). But no Plaintiff

alleges any connection to—much less residence in—either territory. See generally

CCC ¶¶ 13–108.        Plaintiffs therefore have no claim under the laws of either

jurisdiction.    As to the putative Puerto Rico and Virgin Islands “Statewide”

Subclasses, Plaintiffs allege that their nonexistent Puerto Rico and Virgin Islands

plaintiffs’ claims are “typical of other Class Members’ claims because Plaintiffs

and Class members were … damaged in the same way.”                      CCC ¶ 304.

Accordingly, because no Plaintiff alleges entitlement to relief under Puerto Rico or

Virgin Islands law, Counts 78, 88, 89, and 90 must be dismissed, as must the

allegations about the putative Puerto Rico and Virgin Islands “Statewide”

Subclasses. See Griffin, 823 F.2d at 1483 (“[A] claim cannot be asserted on behalf

of a class unless at least one named plaintiff has suffered the injury that gives rise

to that claim.”).

      D.        Plaintiffs’ O.C.G.A. § 13-6-11 Claim Should Be Dismissed.
      Plaintiffs may only recover expenses and fees for “stubborn litigiousness or



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unnecessary trouble” if “there exists no bona fide controversy or dispute regarding

liability for the underlying cause of action.” David G. Brown, P.E., Inc. v. Kent,

561 S.E.2d 89, 90–91 (Ga. 2002). At a minimum, as this motion demonstrates,

there is a “bona fide controversy or dispute” between the parties. And Plaintiffs

plead no facts suggesting bad faith. This claim fails.

                                  CONCLUSION
      For these reasons, the CCC should be dismissed in its entirety.


DATED: June 27, 2018                       Respectfully submitted,

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                                 Counsel for Equifax Defendants




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1D, the undersigned certifies that the foregoing complies

with the font and point selections permitted by L.R. 5.1B. This Response was

prepared on a computer using the Times New Roman font (14 point).

      Respectfully submitted, this 27th day of June, 2018.



                                            /s/ David L. Balser
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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 27, 2018, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will send

notice of electronic filing to all counsel of record.


                                                /s/ David L. Balser
                                                David L. Balser
